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UNITED STATES DISTRICT COURT
DISTRICT OF NEW MEXICO

CARL WILSON, an individual, and :
AUDREE WILSON, an individual,

Plaintiffs,
: 94 Civ. 892 (JC)

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HARPERCOLLINS PUBLISHERS INC.,

a Delaware

corporation, 2
Defendant. :
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REPLY MEMORANDUM OF LAW IN SUPPORT OF
DEFENDANT'S MOTION FOR SUMMARY JUDGMENT

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW MEXICO

CARL WILSON, an individual, and
AUDREE WILSON, an individual, ORAL ARGUMENT

REQUESTED
Plaintiffs,
Vv. 94 Civ. 892 (JC)

HARPERCOLLINS PUBLISHERS INC.,
a Delaware corporation,

Defendant.

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REPLY MEMORANDUM OF LAW IN SUPPORT OF
DEFENDANT'S MOTION FOR SUMMARY JUDGMENT

PRELIMINARY STATEMENT

HarperCollins Publishers Inc.'s ("HarperCollins") moving
papers demonstrated the extraordinary lengths to which its
editorial and legal staff and representatives went to assure the
accuracy of the factual contents of WOULDN'T IT BE NICE -- MY OWN
STORY ("the book"). Two years in creation, the book was
shepherded through the publishing process by one of HarperCollins'
most experienced editors, whose objective was to see to it that
the book, as published, represented Brian Wilson's own, faithful
account of his life's story.

HarperCollins devoted significant legal resources toward the
same objective. Expert outside publishing counsel, in
coordination with HarperCollins' inside counsel, reviewed the
manuscript for accuracy over a two-month period. The legal review
process was determined to be so important, and in fact was so
thorough, that the schedule for publication was pushed back by
some six weeks to permit its completion.

The process was a textbook example of careful pre-publication
procedures undertaken by a book publisher. Its outcome was a
good-faith determination that the book's factual content was

accurate.

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In an effort to withstand summary judgment, plaintiffs
attempt to paint a quite different portrait -- that of a publisher
deliberately or recklessly pursuing a publishing project without
concern for its accuracy. The Court is invited by plaintiffs to
believe that the entire two-year publishing effort was a sham --
that, for reasons never articulated by the plaintiffs,
HarperCollins, acting through its editors and lawyers, was

motivated to publish an autobiography it knew (or had reason to

know) was not the story of Brian Wilson and it knew (or had reason
to know) was instead the handiwork of Eugene Landy. The premise
is illogical; more importantly, there is simply no record support
for it.

There is even less basis for allowing the conclusion that the
specific passages at issue in this suit were somehow the product
of this allegedly reckless publishing venture. Try as they might,
plaintiffs simply cannot squeeze their square-peg scenario into
the round-hold record facts presented here.

To be sure, in constructing their scenario, plaintiffs grab a
sentence here and a phrase there from documents and depositions
they otherwise contort or ignore. This fast-and-loose treatment
of the record is easily exposed, however, and we do so in this
reply brief.

Plaintiffs are left to resort in desperation to "factual"
declarations from their own counsel of record, who have now
proffered themselves as plaintiffs' key factual witnesses.’ But
these declarations are of no more probative value than plaintiffs'
gloss on the fact record. Ms. Drooz's declaration is as

irrelevant as it is inadmissible in purporting to recount post-

1. The propriety of this dual role as trial counsel and fact
witness is the subject of separate disqualification motion papers
being filed by HarperCollins.

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publication discussions between plaintiffs and HarperCollins. Mr.
Langberg's declaration is a blend of argumentation and hearsay,
none of which alters one iota the state of the record as to the
dispositive issue on this motion -- HarperCollins' (as opposed to
Mr. Langberg's) state-of-mind at the time the book was published.

Plaintiffs' final reach for a toe-hold to a possible trial
takes the form of two expert submissions. But their choice of
experts to opine as to whether HarperCollins has acted within book
publishing norms is a curious one, insofar as neither has book
publishing background. What is more, their reports suffer the
same infirmity as the balance of plaintiffs' argumentation: they
consist of a combination of rank speculation and conclusions drawn
from a morsel of record evidence (and a distorted one at that).
The approach to the evidence reflected in these reports betrays
either a woefully inadequate knowledge of the record or a
deliberate disregard of it.

The governing case law, which plaintiffs have also tried to
sidestep, makes clear that the First Amendment protects a book
publisher from defamation liability provided only that it has
formed a good-faith belief in the truthfulness of a given
manuscript. The cases are uniform in dismissing libel claims in
circumstances where, as here, the book publisher has relied ona
reputable author and has taken other reasonable steps to gain a
comfort level as to a book's accuracy.

For their part, plaintiffs fail to cite a single book
publishing case to support denial of summary judgment here. They,
instead, reach for cases that do not deal with the standard of
care pertaining to book publishers and which are grounded on
extreme facts that bear not the slightest resemblance to those

presented here.
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To withstand summary judgment for HarperCollins here,

plaintiffs were required to identify a sufficient quantun
concrete and admissible evidence such that a jury could f
clear and convincing evidence that HarperCollins knowing]
published false facts defamatory of plaintiffs or publish
in reckless disregard of their truth or falsity. Plaintj

failed utterly to discharge that burden. Summary judgmer
dismissing the complaint is the proper remedy in the

circumstances.

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I. PLAINTIFFS IGNORE THE OVERWHELMING WEIGHT OF LEGAL AUTHORITY

ON_A BOOK PUBLISHER'S STANDARD OF CARE

A. Introductory Points

Plaintiffs have conceded that Carl Wilson is a publj
to whom the actual malice test applies. Plaintiffs' Memoy
Law in Opposition to Defendant HarperCollins' Motion For
Judgment ("Opp. Br.") 5.
HarperCollins' contentions that: (1) Audree Wilson is a

figure; and (2) under New Mexico choice of law rules, Nev

gross irresponsibility test governs Ms. Wilson's claim if

treated as a private figure.

While, as we demonstrate infra, plaintiffs are inco]

matter of law on both of these issues, they are not of g]
moment in relation to disposition of this motion because

unrefuted record conclusively establishes that Harpercol|

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Summary

As to Audree Wilson, plaintiffs dispute

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Lins' pre-

publication conduct more than satisfied any potentially governing

standard of care -- actual malice, gross irresponsibility

negligence.

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B. Plaintiffs' Legal Analysis Is Flawed

HarperCollins' opening brief cites and discusses cas
case in which courts have entered summary judgment in fav
book publishers under each potentially applicable standax
actual malice, gross irresponsibility or negligence ~-- wh

publisher has engaged in the quantum and quality of pre-

publication review that HarperCollins engaged in here. Jee

Opening Br. 34-48.

Faced with no authority to rebut these cases and the
implications here, plaintiffs have chosen to completely i
them. Their force cannot be avoided, however. The wealt
publisher precedent makes eminently clear that a publishe
not, as a matter of law, act with actual malice or with g
irresponsibility or negligently when it has done what the
unchallenged record reveals that HarperCollins did here:
on a reputable and experienced author (Mr. Gold); met wit

authors (Messrs. Gold and Wilson) to judge their credibi]

required substantiation of numerous passages; and had the
manuscript reviewed prior to publication by an experience

law attorney.

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As discussed in HarperCollins' opening brief, the aq¢tual

malice standard requires no more of a publisher than reliance ona

reputable and experienced author in forming a good faith

that the manuscript is accurate and truthful. Opening Br

belief

- 34-38.

While this unchallenged legal standard clearly does not require

the extensive pre-publication review that HarperCollins undertook

-- and thus would have protected HarperCollins from liabjlity had

it done far less -- the unrefuted record reveals a el of

conduct on the part of HarperCollins that far exceeded t
even a reasonable (negligence standard) book: publisher.

Opening Br. 49-51; Drew Aff. f§ 9, 65.

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In their search for helpful precedent, plaintiffs cite to a
line of cases (Opp. Br. 10-11, 15-19) which correctly observe that
actual malice may be found in egregious circumstances where a
publisher: (1) “purposefully avoided the truth" of the story it
published; (2) "fabricated" a story; (3) published a "product of
[its] imagination," (4) based a story "wholly on an unverified
anonymous telephone call," or (5) reported “allegations [that] are
so inherently improbable that only a reckless [publisher] would
have put them in circulation." See Harte-Hanks Communs., Inc. v.
Connaughton, 491 U.S. 657 (1989); St. Amant v. Thompson, 390 U.S.
727, 731-32 (1968). But the mere articulation of these tests does
not get plaintiffs home. They are required to match the fact
record here to the extreme departures from sound journalism that
the above-articulated legal standards require be shown.

Plaintiffs have not remotely made that demonstration.

Thus, plaintiffs' portrayal of HarperCollins as making "a
deliberate decision not to acquire knowledge of facts that would
confirm the doubts they possessed" (Opp. Br. 17) is a hollow
incantation of the actual malice test wholly divorced from the
record presented here. That record demonstrates conclusively that
HarperCollins aggressively confronted each issue bearing on the
veracity of the book, concluding in each and every instance that
the book represented an honest account of Mr. Wilson's life from
Mr. Wilson's perspective.

Indeed, contrary to plaintiffs' assertion (Opp. Br. 2),
HarperCollins' motion for summary judgment does not rest on
“professions of good faith and ignorance," but on the thorough and
careful investigation that it undertook to assure itself that
Brian Wilson was competent to participate in the writing of his
autobiography and that the material in the book represented a

truthful account of Mr. Wilson's life. See Opening Br. 7-26.
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One need only compare the facts of the Harte-Hanks decision
on which plaintiffs rely to those presented here to realize just
how aberrant a publisher's conduct must be to allow a jury to
reach a finding of actual malice. The plaintiff in Harte-Hanks,
an unsuccessful political candidate, challenged a newspaper's
report that he offered bribes to two sisters for their help ina
criminal investigation of his opponent. The newspaper, a
supporter of the opponent, obtained its information from one of
the sisters and reported on the alleged bribery notwithstanding
that: the story had been "consistently and categorically" denied
not only by the plaintiff, but by five other individuals who
attended the meeting at which the plaintiff allegedly offered the
inducements; despite these denials, the newspaper had failed to
seek confirmation of the story from the other sister; and the
newspaper was in possession of, but failed to listen to, tape
recordings of the meeting at which the bribery allegedly occurred.
491 U.S. at 682-85. Small wonder in these circumstances that the
United States Supreme Court found sufficient evidence of
purposeful avoidance of the truth to permit a jury to find actual
malice.

Plaintiffs similarly misfire in their assertion that summary
judgment in favor of the publisher in private figure cases
governed by the negligence standard is "unusual." Opp. Br. 25.

Quite to the contrary, it is the norn.?

2. See, e.g., Middleton v. Sutton, Civ. No. 92-589-B, 1995 U.S.
Dist. LEXIS 4687 (D.N.H. Mar. 31, 1995) (summary judgment for
defendant on issue of negligence); Holden v. Clary, 20 Media L.
Rep. 1829 (E.D. Va. 1992) ("mere speculation" as to negligence
cannot overcome a publisher's motion for summary judgment) ;
Nesbitt v. Multimedia, Inc., 9 Media L. Rep. 1473 (W.D.N.C. 1982)
(summary judgment for publisher on issue of negligence); Dresbach
v. Doubleday & Co., Inc., 518 F. Supp. 1285 (D.D.C. 1981) (same
for book publisher); Turner v. Harcourt, Brace, Jovanovich, 5
Media L. Rep. 1437 (W.D. Ky. 1979) (same); Lake Havasu Estates,
(continued...)

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Plaintiffs cite but a single case, Ashby v. Hustler Magazine,
Inc., 802 F.2d 856 (6th Cir. 1986), to support their assertion.
Once again, merely to recite the facts presented in Ashby is to
distinguish it totally from the record developed here. Ashby
involved Hustler Magazine's publication of nude photographs of the
plaintiff without her permission (a forged consent form had been
submitted). In denying the magazine's motion for summary
judgment, the Court emphasized that the nature of the subject
matter at issue (nude photographs) required the magazine to
establish procedures which would ensure that consent to
publication was genuine. The magazine's failure to establish such
procedures, particularly in the face of overt signs that the
person who signed the release form was not the individual depicted
in the photographs, was sufficient to preclude summary judgment on

the issue of negligence. 802 F.2d at 858-60.

2. (...continued)

Inc. v. Reader's Digest, 441 F. Supp. 489 (S.D.N.Y. 1977) (same);
Kendrick v. Fox Television, 659 A.2d 814 (D.C. App. 1995) (same) ;
Cefalu v. Globe Newspaper Co., 8 Mass. App. Ct. 71, 76-77, 391
N.E.2d 935, 938 (Mass. App. 1979) (same), cert. denied, 444 U.S.
1060 (1980); Walters v. Sanford Herald, Inc., 31 N.C. App. 233,
228 S.E.2d 766 (N.C. App. 1976) (same); Barbetta Agency, Inc. v.
Evening News Pub. Co., Inc., 135 N.J. Super. 214, 343 A.2d 105
(N.J. App. 1975) (same).

Indeed, a study published in July of this year by the not-
for-profit Libel Defense Resource Center reveals that from 1990
to 1994, courts granted defendants! motions for summary judgment
in 85.0 percent of all private figure cases in which decisions on
motions for summary judgment were reported, while denying
defendants' motions in only 11.7 percent of all such cases. LDRC
Bulletin No. 3, Table 7 at A6 (July 1995). The same study
indicates that courts entered summary judgment in favor of the
defendant in 86.7 percent of all public figure cases and denied
summary judgment in only 8.2 percent of all such cases.

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II. PLAINTIFFS HAVE ADDUCED NO EVIDENCE THAT HARPERCOLLINS
PUBLISHED THE BOOK WITH ANY DEGREE OF FAULT AND HAVE FAILED
TO PRESENT A SINGLE DISPUTED MATERIAL FACT

To overcome HarperCollins' motion for summary judgment,
plaintiffs are constitutionally required to adduce a sufficient
quantum of affirmative, admissible evidence such that a reasonable
jury could find by clear _and convincing evidence that
HarperCollins knowingly published false facts defamatory of
plaintiffs or that HarperCollins published such facts with a
subjective awareness that they were probably false and "in fact"
had serious doubts as to their truth or falsity. Anderson v.
Liberty Lobby, Inc., 477 U.S. 242, 256-57 (1986); St. Amant, 390
U.S. at 731. If Ms. Wilson is a private figure (which

HarperCollins asserts she is not for the reasons set forth infra),

plaintiffs have the burden of coming forward with concrete and
admissible evidence that would establish, at a minimum, negligence
on the part of HarperCollins by a preponderance of the evidence.
Plaintiffs have failed to adduce any such evidence and thus cannot
meet their burden irrespective of which standard of care or
evidentiary standard is applied.

Plaintiffs' “Opposition to HarperCollins' Statement of
Uncontested Material Facts" (Opp. Br. 25-38 (Section III) )3
consists, in equal parts, of pure conjecture and grossly distorted
snippets of testimony and documents wrenched out of the broader

contextual and temporal framework of the record as a whole.‘

3. Paragraphs 1-3, 6, 8-9, 12-16, 18, 22, 25, 30-33 and 35 of
HarperCollins Statement of Uncontested Material Facts have not
been challenged by plaintiffs and are thus deemed admitted
pursuant to D.N.M.LR-CV 56.1.b. The remaining paragraphs are
challenged only to the limited extent set forth in Section III of
plaintiffs' opposition brief.

4. For example, plaintiffs' assertion that Ms. Gavenchak "relied
on as corroboration one incident reported as ‘rumor' in Heroes
(continued...)

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Indeed, in many instances the very deposition excerpts and
documents appended to plaintiffs' opposition papers belie the
assertions found in their brief. The record, as summarized below
and as recounted in detail in HarperCollins' opening brief at 7-
26, disposes completely of so much of plaintiffs' eighteen
asserted contested facts as have relevance and lays bare the
absence of any disputed material fact in this case.

Plaintiffs' assertions of contested fact essentially boil
down to the following premise: that HarperCollins' "purposefully
avoided" or blinded itself to (1) Brian Wilson's psychological
problems and (2) Eugene Landy's alleged control over the contents
of the book. Not only have plaintiffs failed to provide a single
shred of evidence to support either prong of this premise, the
record flatly contradicts their unsubstantiated assertions and the
facts are clearly and decidedly to the contrary. Indeed,
plaintiffs have failed to address or even mention the abundance of
evidence -- particularly unrefuted deposition testimony and
affidavits -- establishing that HarperCollins carefully inquired
into and investigated both facets of this contention and came to
the good-faith and reasonable conclusions that Brian Wilson was
competent to tell his story, that the story was both accurate and
honest, and that it represented Mr. Wilson's viewpoint, not Mr.

Landy's.

4. (...continued)

and Villains" for the statements in the book concerning Audree
Wilson's response to her husband's child abuse (Opp. Br. 31) is a
patent distortion of the record. Ms. Gavenchak testified
repeatedly about her many conversations with Todd Gold concerning
these very statements and the process by which she came to the
conclusion that the statements were true. Gavenchak Aff. § 8a;
Gavenchak Dep. 73-76 (Exh. 12 to Drew Aff.). Indeed, in several
instances, plaintiffs fail to provide the Court with a complete
copy of the documents that they distort. See Exh. F to Opp. Br.
(neither memorandum is complete).

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In this regard, so long as HarperCollins made such a
determination based on its pre-publication "vetting" process as a
whole, it is irrelevant which individuals acting on HarperCollins'
behalf actually met Mr. Wilson or responded to concerns as to Mr.
Wilson or Mr. Landy expressed by one or more third parties. Thus,
plaintiffs' effort to ascribe fault to HarperCollins on the basis
that any given individual may or may not have replicated the
efforts of other HarperCollins' representatives is plainly

improper and invites the Court to lose the forest for the trees.

A. HarperCollins' Belief in Brian Wilson's Ability to Tell
His Story

While plaintiffs repeatedly attempt to make an issue of Mr.
Wilson's competence per se, that issue is not material to the
issue of HarperCollins' standard of care. The only material
question is whether HarperCollins made a good faith (actual
malice) or reasonable (negligence) determination that Mr. Wilson

was competent to truthfully tell his life story.

The record facts (see Opening Br. 7-26) completely dispose of

plaintiffs' unsupported assertions of contested fact in paragraphs

1, 2, 5-17 of Section III of their brief (Opp. Br. 25-27, 29-38),
each of which (stripped of irrelevancies) relates to
HarperCollins' investigation of Mr. Wilson's ability to
participate, and his actual participation, in writing the book.
Thomas Miller (the editor), Matthew Martin (an in-house
lawyer) and Craig Herman (HarperCollins' then-Assistant Director
of Publicity) all testified that they personally met with Mr.
Wilson to satisfy themselves that he was competent to write his
memoirs and participate effectively in a publicity tour. Miller
Aff. | 15; Martin Aff. ¢ 24; Herman Aff. ¢ 6. In addition, Ms.
Gavenchak, HarperCollins' outside counsel, testified that she

received repeated assurances from Mr. Gold that Mr. Wilson had

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been forthcoming with details about his life, that Mr. Wilson was
perfectly capable of honestly remembering and reporting a great
deal about his past, and that Mr. Wilson was honest with Mr. Gold
when he was unable to recall certain events.> Gavenchak Aff.

§ 6; Gavenchak Dep. 53-57, 73-74 (Exh. 12 to Drew Aff.). Further,
Mr. Miller testified that Mr. Strone of the William Morris agency
had given him assurances that Brian Wilson had overcome his
emotional problems and was competent to co-author the book.
Miller Aff. { 8.

In an effort to refute this testimony, plaintiffs cite the
preliminary reactions of a young editorial assistant, James
Hornfischer, to the first draft of the manuscript. See Opp. Br.
26, 28. In typically selective fashion, plaintiffs ignore the
stated purpose of Mr. Hornfischer's comments -- to help give the
far more experienced senior editor, Mr. Miller, "a frame of
reference for his own independent evaluation of the book project."
Hornfischer Dep. 91-93, 100 (attachment 1 hereto). Mr. Miller, as
noted, undertook substantial efforts (along with other
HarperCollins’ representatives) to reach a comfort level on Mr.
Wilson's competency. See Hornfischer Dep. 317-19 (attachment 1
hereto). Even respecting Mr. Hornfischer's supposed doubts, when
asked at his deposition whether, at the time he was reviewing the

manuscript, he had “any question in [his] mind as to whether Brian

5. Moreover, Ms. Gavenchak testified that Mr. Wilson's accounts
of many events from his past were consistent with previously-
published accounts of the same events. Gavenchak Aff. { 8;
Gavenchak Dep. 175 (Exh. C to Opp. Br.). A publisher's reliance
on previously published reports concerning the same subject
matter is strongly probative of an absence of actual malice. See
Liberty Lobby, Inc. v. Rees, 852 F.2d 595, 599 (D.C. Cir. 1988),
cert. denied, 489 U.S. 101 (1989); Rosanova v. Playboy
Enterprises, Inc., 580 F.2d 859, 862 (5th Cir. 1978) ("defamation
defendants will not be forced to defend, nor will a trial judge
in a later libel case have to retry, the truthfulness of previous
reports made by independent publishers").

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Wilson was capable or competent to write an accurate book with a
ghostwriter or to tell an accurate story of his life," Mr.
Hornfischer's unequivocal answer was "No." Hornfischer Dep. 196-
97 (attachment 1 hereto).

Likewise a red herring is the fact that HarperCollins did not
seek to obtain a copy of Dr. O'Connor's psychological evaluation
of Brian Wilson. Book publishers simply do not, as a pre-
condition of publishing, undertake formal psychological profiles
of their authors. As HarperCollins’ expert, Lisa Drew, has
testified, in her thirty-four years of experience in book

publishing she has never heard of any requirement that a book

publisher wait for a psychological evaluation of a celebrity prior
to publishing his autobiography. Drew Supp. Aff. § 2.

This is not to say that HarperCollins ignored potential
concerns over Mr. Wilson's mental health. To the contrary, it
undertook to gain the necessary comfort level by the multiple
techniques of meeting Mr. Wilson, monitoring his involvement
through his co-author, Mr. Gold, and being authoritatively advised

by Mr. Wilson's attorney, Donald Engel, that the conservatorship

proceeding (in connection with which Dr. O'Connor's report was
being prepared) was not fundamentally about Mr. Wilson's mental
capacity. See Opening Br. 17-18; Gavenchak Aff. ¢ 10. In any
event, HarperCollins was advised by Mr. Engel that the O'Connor
report would conclude that Mr. Wilson was mentally competent.°

Martin Aff. § 25.

6. It should be noted that the O'Connor report is dated October
4, 1991 -- after HarperCollins began shipping copies of the
finished book from its warehouse to wholesale and retail
booksellers throughout the country. Martin Supp. Aff. q 8.

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B. HarperCollins' Belief As To Mr. Landy's Involvement in
the Book

Nor have plaintiffs come forward with any concrete evidence
to support their assertions that Eugene Landy "manipulated" the
content of the book or, more critically, that he inserted the
specific statements in the book that are claimed to be false and
defamatory as to Carl and Audree Wilson. See Langberg Dec. § 6E;
Opp. Br. 3. In fact, the record on these points is decidedly to
the contrary and refutes completely plaintiffs' asserted contested
facts in paragraphs 3-6, 9-12, 15-17 of Section III of their brief
(Opp. Br. 27-38), each of which (stripped of irrelevancies)
relates to the Landy issue.

Mr. Miller testified that William Shinker (the publisher)
insisted from the start of this project that the book be Brian
Wilson's and not Eugene Landy's. Miller Dep. 54-56 (Exh. 5 to
Drew Aff.); Shinker Dep. 55-56 (Exh. 9 to Drew Aff.). To this
end, Mr. Shinker insisted upon contractual language that would
prevent Mr. Landy from continuing the project in Mr. Wilson's
absence. Id. Mr. Miller further testified that throughout the
editorial process he made concerted efforts to insure that Eugene
Landy was not controlling the contents of the book, Miller Aff.

§ 20, and that he was informed by Mr. Gold that Mr. Landy's
participation in the writing of the book was limited to providing
input on the sections discussing his treatment of Brian Wilson,
Miller Dep. 53-55 (Exh. 5 to Drew Aff.). Ms. Gavenchak testified
that she came to the same conclusion as to Mr. Landy's involvement
in the book. Gavenchak Aff. { 9.

Plaintiffs have not refuted any of this testimony and have
not, as they are required to do, specifically tied a single one of
the challenged passages to Mr. Landy's alleged manipulations. See

Bailey v. Dell Pub. Co., Inc., 790 F. Supp. 101, 105 (W.D. Pa.)

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(plaintiff must establish publisher fault with respect to the
specific passages that are challenged), aff'd without opn., 983
F.2d 1049 (3d Cir. 1992); Miele v. William Morrow & Co., Inc., 670
F. Supp. 136, 139 (E.D. Pa.) (same), aff'd without opn., 829 F.2d
31 (3d Cir. 1987).

Bereft of record support, plaintiffs pin their "Landy-
control-of-the-manuscript" hopes on the declaration of their
attorney of record, Barry Langberg.’” The declaration relies upon
such double-hearsay as the following to attempt to create a
factual dispute where there is none:

I had information that, over the years, Landy had
made a number of statements about Carl Wilson and
Audree Wilson that were false and defamatory. I was
certain that Landy would take the opportunity to
insert those statements in the purported
autobiography of Brian Wilson.

Langberg Dec. ¢ 4. Needless to say, Mr. Langberg does not come
forward with his supposed "information"; neither does his
carefully-worded statement claim that Mr. Landy actually inserted
these mystery passages into the manuscript.

Finally, while Mr. Langberg trumpets his August 8, 1991
letter to HarperCollins (Exh. 4 to Martin Aff.) as if it were a
veritable smoking gun, it scarcely constitutes a water pistol.
That letter made no specific claims of factual falsity (Mr.
Langberg advised HarperCollins that he had not reviewed the
manuscript), and merely reiterated general assertions as to Brian
Wilson's competency and Mr. Landy's control that HarperCollins had
been investigating for many months. Since the August 8, 1991
letter raised no new allegations and presented no new facts, it is
hardly surprising that HarperCollins' inside and outside counsel

would and did conclude that HarperCollins should proceed with

7. In Point III below, we address the evidentiary infirmities of
the Langberg Declaration.

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publication. Martin Aff. ¢ 28; Gavenchak Aff. § 11. The law
fully supports their decision.

The cases are legion that publication following a general and
non-specific charge of possible falsity is not reckless and forms
no basis for defeating a publisher's motion for summary
judgment.® "If potential plaintiffs in libel suits could cut off
[an actual] malice defense by simply calling a {publisher] and
giving a broad denial of an article, the first amendment
principles in New York Times would be undermined." Martin
Marietta Corp. v. Evening Star Newspaper Co., 417 F. Supp. 947,
960 (D.D.C. 1976). As one court noted, a potential plaintiff's
general charge that material is false "hardly alert[s] the
conscientious reporter to the likelihood of error," as such
denials are simply “commonplace in the world of polemical charge
and countercharge." Edwards v. National Audubon Society, 556 F.2d
113, 121 (2d. Cir.), cert. denied, 434 U.S. 1002 (1977). This

observation is particularly apt here, where Mr. Langberg's clients
avowedly had an interest in the book's not being published.

Martin Aff. 4 28; Gavenchak Aff. { 11.

8. See, e.g., Liberty Lobby, Inc. v. Anderson, 746 F.2d 1563,
1569 (D.C. Cir. 1984) (pre-publication letter from plaintiff
containing "mere general allegations of falsity" cannot
constitute sufficient evidence of actual malice to overcome a
motion for summary judgment), vacated and remanded on other
rounds, 477 U.S. 242 (1986); Davis v. Costa-Gavras, 595 F. Supp.
982 (S.D.N.Y. 1984) (unsubstantiated, non-specific pre-
publication letter from plaintiff that failed to point out
specific inaccuracies cannot create an issue of fact on the issue
of actual malice; summary judgment for publisher); Dombey v.
Phoenix Newspapers, 150 Ariz. 476, 724 P.2d 562 (1986) (a general
and non-specific demand for retraction that fails to cite
specific inaccuracies and the facts to rebut them are afforded no
weight in actual malice inquiry); Curran v. Philadelphia
Newspapers, Inc., 497 Pa. 163, 439 A.2d 652 (1981); Goldblatt v.
Seaman, 22 Media L. Rep. 2059 (N.Y. Sup. Ct. 1994); New York
Yankees v. CBS, 16 Media L. Rep. 1055, 1057 (N.Y. Sup. Ct. 1988)
(letter from plaintiff that generally claimed book to be false
and libelous and failed to delineate specific passages cannot
create an issue of fact as to actual malice).

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In sum, the record is devoid of any factual basis for Mr.
Langberg's bald assertion that Mr. Landy inserted false and
defamatory statements about his clients into the book and that
HarperCollins looked the other way as he did so.’

III. THE LANGBERG AND DROOZ DECLARATIONS CONTAIN INADMISSTBLE
STATEMENTS THAT CANNOT BE USED TO DEFEAT HARPERCOLLINS*

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MOTION FOR SUMMARY JUDGMENT

Rule 56(e) of the Federal Rules of Civil Procedure expressly
mandates that affidavits offered in opposition to a motion for
summary judgment "shall set forth such facts as would be
admissible in evidence." Fed. R. Civ. P. 56(e) (emphasis added).
What little evidence plaintiffs have attempted to marshal in the
Langberg and Drooz declarations is inadmissible under the Federal
Rules of Evidence and, as such, ought not to be considered here.

A. The References in the Langberg Declaration to Dr.
O'Connor's Report and what Dr. O'Connor Allegedly Told
Mr. Langberg are Inadmissible Hearsay

Rule 802 of the Federal Rules of Evidence provides that
"Thjearsay is not admissible except as provided by these rules or
by other rules prescribed by the Supreme Court pursuant to
statutory authority or by Act of Congress." Rule 801(c) defines
hearsay as "a statement [oral or written], other than one made by
the declarant while testifying at the trial or hearing, offered in
evidence to prove the truth of the matter asserted." Inadmissible
hearsay cannot be used to defeat a motion for summary judgment.

Starr v. Pearle Vision, Inc., 54 F.3d 1548, 1555 (10th Cir. 1995)

9. Nothing in plaintiffs' Second Amended Complaint respecting
their third claim for relief alters the foregoing analysis or
leads to a contrary conclusion as to HarperCollins' standard of
care which attended its pre-publication review of the book.
HarperCollins notes nonetheless that plaintiffs' untimely filing
of their Second Amended Complaint (it was filed 21 days after the
Court-imposed deadline) provides an independent basis for
dismissal of plaintiffs' third claim for relief.

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(Rule 56(e) expressly bars the use of hearsay in affidavits
submitted in opposition to a motion for summary judgment).

Paragraphs 6B, 6C, 6D and 6E of Mr. Langberg's declaration
(in which he recounts what Dr. O'Connor purportedly told to him
and what others allegedly testified and wrote about) are classic
examples of hearsay because they constitute out-of-court
statements being offered to prove the truth of the matters being
asserted and not merely to demonstrate the fact that the
statements were made to Mr. Langberg. After all, Mr. Langberg's
state of mind is not at issue here. Nor do any of the statements
fit within any of the exceptions to the hearsay rule. Since these
statements constitute inadmissible hearsay, they cannot be used to
overcome HarperCollins! motion for summary judgment. Starr, 54
F.3d at 1555 (district court correctly refused to accord any
weight to hearsay presented in opposition to motion for summary
4udgment and properly entered summary judgment for defendant on
defamation claim).

Further, to the extent that Mr. Langberg has endeavored to
represent the contents of the O'Connor Report or any other
testimony from the conservatorship proceeding (none of which has
been made part of the record in this case) those efforts also are
in violation of the best evidence rule. Fed. R. Evid. 1002.

B. The Drooz and Langberg References to HarperCollins’
Offer of Settlement Are Inadmissible

Following HarperCollins’ publication of the hardback edition
of the book and during the time in which HarperCollins was
considering publication of a paperback edition, Mr. Langberg and
Deborah Drooz, a partner in Mr. Langberg's law firm, sent to
HarperCollins letters claiming that the book had defamed their
clients (Carl and Audree Wilson) and demanding that the allegedly

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defamatory material be deleted from the paperback version of the
book. Martin Supp. Aff. q§ 2-3, 5; Exh. 1, 3 to Martin Supp. Aff.

Although Mr. Martin believed the claims to be without merit,
Mr. Martin nonetheless offered to settle the claims by deleting
certain passages from the paperback edition (which was ultimately
not published for unrelated reasons) in the interest of avoiding
potential litigation. Martin Supp. Aff. q 6, 7; Exh. 4 to Martin
Supp. Aff. Plaintiffs now seek to rely on Mr. Martin's offer of
settlement as evidence of HarperCollins' liability on the claims
at issue. Drooz Dec. qq 4-5; Langberg Dec. § 7; Opp. Br. 38.
This they cannot do, as Rule 408 of the Federal Rules of Evidence
explicitly precludes the admissibility of such evidence. Federal
Rule of Evidence 408 provides:

Evidence of . . . offering or promising to furnish...
a valuable consideration in compromising or attempting
to compromise a claim which was disputed as to either
validity or amount [] is not admissible to prove
liability for . .. the claim. ... Evidence of
conduct or statements made in compromise negotiations is
likewise not admissible.

Offers of compromise are not admissible as evidence of the
offeror's liability because: (1) "[{t]Jhe evidence is irrelevant,
since the offer may be motivated by a desire for peace rather than
from any concession of weakness of position" and (2) public policy
mandates the promotion of settlement. See Fed. R. Evid. 408
Advisory Committee Notes. "The philosophy of [Rule 408] is to
allow the parties to drop their guard and to talk freely and
loosely without fear that a concession made to advance
negotiations will be used at trial." Equal Employment Opp. Comm'n
v. Gear Petroleum, Inc., 948 F.2d 1542, 1545 (10th Cir. 1991)

(quotation omitted). See also Bradbury v. Phillips Petroleum Co.,

815 F.2d 1356, 1364 (10th Cir. 1987) (any doubt on the application

of Rule 408 should be resolved in favor of exclusion).

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Accordingly, the statements in the Drooz and Langberg Declarations
concerning any offer of settlement are inadmissible and thus .
cannot be used by plaintiffs in seeking to overcome Harpercollins'
motion for summary judgment.’

IV. PLAINTIFFS' "EXPERT" WITNESSES ARE NOT COMPETENT

Plaintiffs proffer Edwin Diamond and Janet Roehl to testify
as "experts" on "book publishing procedures" and HarperCollins'
standard of care in publishing the book. Diamond Dec. § 1; Roehl
Dec. § 1. Mr. Diamond's and Dr. Roehl's own admissions during
their depositions render each individual incompetent to testify as
an expert on either of these issues. Furthermore, as detailed in
Lisa Drew's Supplemental Affidavit, plaintiffs' "experts" --taking
a cue from plaintiffs themselves -- ignore the abundance of
evidence establishing HarperCollins! good faith and due care and

engage in gross distortions of the record.

A. Edwin Diamond Has No Experience in Book Publishing And
Admittedly Iqnored HarperCollins’ Conduct

With respect to HarperCollins' standard of care, Mr. Diamond
has admitted that his report focuses solely on the identification
of so-called "warning signs" and does not address whether or how
HarperCollins responded to such "warning signs" prior to
publishing the book. Diamond Dep. 59-61 (attachment 2 hereto).
Mr. Diamond thus did not consider HarperCollins' investigations of
Mr. Wilson's competency and Mr. Landy's involvement in writing the
book. Nor did he consider HarperCollins' legal vetting of the
manuscript. Since how HarperCollins went about satisfying the
concerns which surfaced is key to the disposition of this motion,
the failure of Mr. Diamond's report to address these matters

renders his report completely irrelevant.

10. This analysis disposes of plaintiffs' asserted contested
fact in paragraph 18 of its opposition brief. Opp. Br. 38.

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Mr. Diamond's testimony as to book publishing procedures in
general is, moreover, incompetent. Expert testimony is admissible
only if the witness is qualified as an expert by knowledge, skill,
experience, training or education. Fed. R. Evid. 702. Mr.
Diamond's admission that he was first exposed to the internal
workings of a book publishing house when he reviewed the material
to testify in this case (Diamond Dep. 121 (attachment 2 hereto) )
renders him incompetent to serve as an expert on book publishing
procedures in general, let alone HarperCollins' conformity
therewith. See Broadcort Capital Corp. v. Summa Medical Corp.,
972 F.2d 1183, 1194-95 (10th Cir. 1992) (witness incompetent to
testify as expert based on witness' admission that he had no

experience in the field in which he purported to be an expert) .'"

B. Janet Roehl Lacks Book Publishing Experience and Failed
to Consider the Full Record in Proffering Her Report

Dr. Roehl is equally unqualified to testify in the instant
case because she has no experience in book publishing and because
she has admitted that she did not consider the majority of the
record evidence in proffering her report.

Dr. Roehl, a college professor, testified at her deposition
that she has never held a journalism job, that she has never been
employed in-house by a book publisher and that she has no
expertise in the publication of celebrity autobiographies. Roehl
Dep. 3-4 (attachment 3 hereto). Dr. Roehl's admission that she
has no knowledge, skill, experience, training or education in the

area of book publishing or in the publication of celebrity

11. Neither can Mr. Diamond be said to have brought a
dispassionate eye to the subject. At his deposition, Mr. Diamond
revealed his personal animosity toward the genre of literature at
issue here -- celebrity autobiographies co-written by a celebrity
and a professional writer -- through his references to ghost
writers as "one of the lower forms of journalism" and "celebrity
autobiographies" as "cheap, lousy stuff." Diamond Dep. 39-40,
117-18 (attachment 2 hereto). See also Drew Supp. Aff. § 17.

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autobiographies disqualifies her as an expert as a matter of law.
See Fed. R. Evid. 702; Broadcort, 972 F.2d at 1194-95.

Further, Dr. Roehl repeatedly admitted that she generally did
not rely upon deposition testimony in reaching her conclusions as
to HarperCollins' standard of care, but only upon the internal
documents produced by HarperCollins. Roehl Dep. 15-17, 22-26
(attachment 3 hereto). Amazingly, Dr. Roehl testified that she
would rather rely upon her own interpretation of such documents --
principally handwritten notes from telephone conversations wholly
removed from their contextual framework -- than the sworn
testimony given under oath about such documents by their authors
and recipients. Roehl Dep. 14, 16-17 (attachment 3 hereto).

Expert testimony is not competent when the witness admits
that she has not considered the pertinent record evidence. See
Gates v. United States, 707 F.2d 1141, 1144-45 (10th Cir. 1983)
(witness not qualified to testify regarding causation of
plaintiff's injury based on his admission that he had not reviewed
the plaintiff's medical records). Accordingly, Dr. Roehl's
testimony is incompetent because it is not based on any knowledge
of book publishing or on a consideration of the full record in
this case.

Vv. AUDREE WILSON IS A PUBLIC FIGURE

The record is unchallenged that HarperCollins' pre-
publication review of the book far exceeded that of even a
reasonable book publisher. Thus, HarperCollins is entitled to
summary judgment on Ms. Wilson's claim irrespective of her status.
Nevertheless, HarperCollins maintains that Ms. Wilson's notoriety
as the mother of three members of the Beach Boys renders her an
all-purpose public figure for the reasons set forth in its opening

brief. See Opening Br. 29-30.

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At the very least, however, Ms. Wilson should be treated as a
public figure for the limited purpose of the subject matter of her
instant claim -- her reaction to her husband's flagrant child
abuse -- in view of her extensive discussion of that issue with
the media, including prior reports that she stood by and failed to
intercede on her children's behalf.’ By willingly and openly
discussing this issue with the media, Ms. Wilson purposefully
injected the subject of her reaction to his behavior -- or lack
thereof -- into the public forum as well. Ms. Wilson cannot
purposefully engage in public discussions on the precise subject
matter at issue here and then assert that she is not a public
figure for the limited purpose of her instant claim. Accordingly,
plaintiff Audree Wilson must be treated as a public figure.

VI. PLAINTIFFS' CHOICE OF LAW ANALYSIS IS FLAWED

Plaintiffs' legal analysis on the choice of law question as
to which state will supply the standard of care if Audree Wilson
is accorded private figure status typifies their misleading
treatment of governing law. HarperCollins' opening brief sets

forth an analytically and legally sound analysis as to how this

12. See, e.g., Steven Gaines, Heroes and Villains: The True
Story of the Beach Boys 46-47, 83 (Exh. 1 to Gavenchak Aff.),
190-92 (1986) (attachment 4 hereto); David Leaf, Beach Boys 49,
59 (1977) (attachment 5 hereto); David Felton, The Healing of
Brother Brian, Rolling Stone 38-39, 46 (Nov. 4. 1976) (attachment
6 hereto). See also Audree Wilson Dep. 22-26 (attachment 7
hereto).

13. See Rebozo v. Washington Post Co., 637 F.2d 375, 379 (5th
Cir.) (large number of articles mentioning plaintiff evidenced
plaintiff's status as public figure), cert. denied, 454 U.S. 964
(1981); Jensen v. Times Mirror Co., 634 F. Supp. 304, 311 (D.
Conn. 1986) (plaintiff's voluntary giving of interview supported
public figure status); Wynberg v. National Enquirer, Inc., 564 F.
Supp. 924, 928 (C.D. Cal. 1982) (same); Vitale v. National
Lampoon, Inc., 449 F. Supp. 442, 445 (E.D. Pa. 1978) (plaintiff
who was interviewed and photographed for magazine "voluntarily
placed herself in the public domain" and accorded public figure
status).

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question is to be resolved under New Mexico's choice of law
principles (which plaintiffs agree govern here). Specifically,
Section 380(2) of the First Restatement of Conflicts.of Laws
(which New Mexico follows in tort cases) is entitled "Application
of Standard of Care" and provides that the forum must apply the
standard of care of "the place of the actor's conduct," which is
New York, the principal situs of HarperCollins' pre-publication
activities. Martin Aff. { 3.

Rather than address this provision on the merits, plaintiffs
completely ignore its clear and plain import and instead
misrepresent its content in their parenthetical citation (compare

Opp. Br. 8 with First Restatement § 380(2) (attachment 8 hereto)),

summarily concluding that HarperCollins' reliance on this
provision is "misplaced."

To the contrary, HarperCollins' reliance on Section 380(2) is
precisely on point. Section 377 of the First Restatement, on
which plaintiffs rely, merely defines "the place of the wrong" and
does not dictate the circumstances in which the governing law is
supplied by the place of the wrong. The actual choice of law
rules are provided by subsequent sections of the First
Restatement, such as Section 378, which provides that the question
of whether the plaintiff has sustained an injury is resolved
according to the law of the place of the wrong (plaintiff's
domicile), while Section 380(2) provides that the standard of care
(the issue now before this court), is supplied by the place of the
defendant's conduct.

The Ninth Circuit case, Fleury v. Harper & Row Pub., Inc.,

698 F.2d 1022 (9th Cir.), cert. denied, 464 U.S. 846 (1983) on
which plaintiffs rely is not applicable here because it involved
application of California's choice of law rules which, contrary to

New Mexico, are based on a "governmental interest" approach and

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not on the First Restatement. Furthermore, plaintiffs' citation
to Burt v. University of Neb., 757 F.2d 242 (10th Cir. 1985), is
wholly inapposite, as that case did not involve a choice of law
question at all.

CONCLUSION

For the foregoing reasons, summary judgment should be entered
in favor of HarperCollins as to each of plaintiffs' claims for
relief.

WHEREFORE, HarperCollins prays for judgment dismissing the
complaint in its entirety and for the award of its costs and
expenses, and such other relief as the court deems just and
appropriate.

Dated: October 18, 1995

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We hereby certify that a copy of the foregoing was hand-
delivered to Ernesto Romero and forwarded via overnight

service to Beth Dumas this 18th day of October, 1995,

following addresses:

NYFSO8...

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2 doesn’t recail. 2 recommerdations ard the types of analysis that
3 MS. OUMAS: He doesn’t recall. 3° you just described?

4 A. ‘1 don’t recall specific 4 MR. RICH: I object to the form.
5 conversations, I’m sorry. 5 You can answer.

6 Q. Do you recall any general 6 A. I suppose I could be seen as

7 conversations? Do you recall whether that 7 dplicating Ton Miller’s om efforts to edit
8 subject came up for discussion? 8 the maruscripts. /

9 A. No, 1 don’t. The understanding 9 Q. As regards to the book, were you
10 was that this 20-year nightmare was over. The 10 cdplicating Tom Miller’s efforts or --

11 reason we can say it’s 20 years is because 11 A. My efforts were not simultaneous
12 there was an erd point to it and our 12 with Ton’s. I would read it first, make

13 understanding was that was a previous phase of 13 recomendations, and pass the manuscript on to
14 his life that he had successfully entered 14 Tom who would then make his own independent

15 counseling and had came cut healed. 15 recommendation.

16 Q. What was that understarding based 16 Q@. You would make a reconmerciation,
17 on? What was your understanding based on? 17 and what would he do with your reconmendation?
18 A. The statements by the author 18 A. He would put then in the context
19 himself in the book proposal. 19 of his own reading of the maruscript and in
20 Q. = Ard the book -- ard when you were 20 the context of his longer experience iin the
21 reading the book and -- did any part of -- did 21 book business to make a judgment about how the
22 you edit the manuscript Wouldy’t_ It Be Nice? 22 book should ultimately be edited for
a3 A. Tondid the formal actual editing @ poblication.
24 of the book. I -- depends on how you are 24 Q, When you say how it should be
2 defining edit, I suppose. I read the 2 ultimately edited for plication, what do you

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1 Hornf ischer 1 Hornfischer

2 manuscripts and made recommendations about the 2 mean by that?

3 contents. Tom actually did the editing. 3 A. Charges in organization or

4 Q. What recommendations did you make 4 structure or language that he might reconmend
5 about the contents in general? Could you 5 the authors make by way of a revisio of the
6 describe that part of your job? 6 mensscripts or later on actual editing by his
7 MR. RICH: That part of the job 7 om pen of the manuscript.

8 or the nature of his coments? 8 MS. DUMAS: Can we take a break?
9 MS. DUMAS: No, that part of the 9 (Recess taken.)

10 job. What did that entail, making 10 Q. = What conclusions did you, what

11 recommendations? What was the purpose 11 recomendations and conciusions did you make
2 of? 12 as regards to Woulch’t It Be Nice, as regards
3 A. My job was to read manuscripts 13 to your job of reading ad analyzing the

14 and to evaluate them on the basis of whether 14 book -- let me start over again. Strike the
15 or not they were well written, well organized, 15 question.

16 conpelling ard worthy of publication by a firm 16 I just had the reporter read back
17 of HarperCollins’ reputation. 17 for me your description of the purpose of your
18 Q. Were you, was anybody else 18 review of the book Woulch’t It Be Nice, and
19 assigned that task with regard to the book 19 your testimony was that you would, as a

20 Woulch’t It Be Nice or is it only ore 20 general matter you were reading the book to

21° person -- let me back up. 21 determine whether or not it was well written,
2 Qa book, is it -- do people -- 22 well organized, compelling and worthy of a

23 is there dplicative effort or generally one 2 pblication of a firm of HarperCollins’

24 assistant editor is assigned the job of 24 stature or reputation. And I believe you

2 reading the manuscript and making the types of 2 testified earlier that you read the manuscript

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2 and you made recomendations to Tom Miller on 2 of that?

3 the subject. What recommendations did you 3 A. — Rings a rather smelly bell, yes.
4 make to Mr. Miller? 4 Q. When you read the book, what --
5 A. I believe I expressed to him that 5 it talked about his mental illness. Do you

6 1 felt the manuscript was progressing well, 6 remember any passages about his mental

7 that Brian and Todd seamed to be doirg 7 illness?

8 basically a good job with some recommendations 8 A. Right now five years after

9 about where revisions might be made. 9 editing it? No.

10 Q. What do you mean by doirg a good 10 Q. When you read the passages about
11 job and progressing well? 11 not bathing for three years and the having the
12 A. That the story was well told, 12 breakdown after taking LSD and -- did you ever
13 that there seemed to be a consistent voice at 13 consider whether Brian Wilson had the

14 work in the menuscript, that it was well 14 capacity, the ability to tell an accurate

15 structured and that a reader would come away 15 story?

16 with a feeling of knowing samething about 16 MR. RICH: Can we put a time

17 Brian Wilson. 7 frame cn this, Beth?

18 Q. = When -- what about factual 18 Q. At about the time --

19 accuracy? 9 MS. DUMAS: Could you read back
20 MR. RICH: What about it? 20 my question?
21 Q. Was that a -- strike the 21 MR. RICH: You incorporated
22 question. 22 “ever” in there. That was my problem.
3 Anything more you want to acd B (The record was read back as
24 on -- do you want to acd anything more to your 2 fol lows:
2 description of the recommendations that you 3s ™Q. When you read the passages

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2 made to Mr. Miller? 2 about not bathing for three years add
3 A. I can’t thirk of anythirg. 3 the having the breakdown after taking
4 Q. So you thought that the story was 4 LSD and -- did you ever consider

5 well told: what do you mean by that? 5 whether Brian Wilson had the capacity,
6 A. That it clearly related events 6 the ability to tell an accurate

7 ad Mr. Wilson’s evaluation of these events. 7 story?”)

8 Qa. Do you remerber any passages of 8 MS. DUMAS: Let’s take a break
9 the book where Brian, any passages of the book 9 for a minute.

10 which recounted extensive drug use by Brian 10 (Recess taken.)

11 Wilson? Do you remerber any passages that 11 Q. When you were performing, when
12 discussed intaking of LSD ad having a 12 you were reading the book and formulating the
13 breakdown and do you remember any of those 13 recommendations that you previously described
14 passages? Do you have a general recollection? 14 that you made to Mr. Miller, did you ever

5 A. Yes, I do have a general 15 consider after reading the passages about

16 recollection. 16 Brian Wilson suffering a breakdown and

17 @. * Do you have a general 17 passages describing large intake of LSD and
18 recollection of passages from the book 18 rot bathing for a period of up to three years,
19 describing Brian Wilson as hearing voices? 19 did you ever consider at that period of time
20 A. = Not specifically. 20 wien you were forming those recommendations,
21 Q. Do you have ary recollection of 21 the issue of whether this man, Brian Wilson,
22 the book, Brian Wilson saying there was a 22 is capable or competent or able to write a

2&3 period of time that he didn’t bathe for, I 2 truthful account of his life?

24 think it was three years, ad he cloistered 2 MR. RICH: Objection to form.

2 himself up; do you have a general recollection 3 You may answer.

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2 A. I believe in me of my menos, I 2 . about this time period while he was

3 don’t remeber if it’s the first or second 3 reviewing the manuscript?

4 one, I did raise such a question. Yes. 4 MS. DUMAS: Ever being ever.

5 Q. What do you remenber raising? 5 MR. RICH: Then there are

6 What do you remenber thinking? 6 privilege issues.

7 A. 1 remenber asking whether or not, 7 MS. DUMAS: Fair enough.

8 given the totality of his breakdown, whether 8 Q. Prior to publication of the book,
9 or not during that period of his life he would 9 do you rember having any discussions with

10 be able to remenber events clearly. 10 Matthew Martin on the subject of Brian

11 Q. Who did you ask this question of? 11 Wilson’s ability, capacity, to write a

12 A. It was in the form of a memo to 12 truthful and accurate book, given the

13 Tan Miller. 13 descriptions of mental illness, breakdowns and
14 Q. What was his response? What was 14 drug use contained jin the book?

15 Mr. Miller’s response? 15 A. I don’t recall having any

16 MR. RICH: Objection to form. 16 conversations with Mr. Martin, no.

7 Lack of foundation. 7 Q. Do you recall having any

18 You can answer. 18 conversations with Genie Gavenchak prior to

19 A. I don’t recail Mr. Miller’s 19 publication of the book on that subject?
20 response. 20 A. I never spoke to Ms. Gavenchak,
21 Qa. Was it a subject of conversation 21 ro.
22 between you two or just the subject of a mem? 22 Q. So you made recommendations to
B A. = Again, I don’t remenber if we had 23 Mr. Miller about the book, and what did Mr.
24 any conversations about it. 24 Miller do with those reconmendations?
3 Q. Was it an important issue or a 3 A. I don’t know.

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1 Hornfischer 1 Hornf ischer

2 side issue? 2 Q. Generally what was the purpose --
3 MR. RICH: To whan? 3 is this a job -- had you performed a similar
4 Q@. To you. 4 function with respect to other books that you
5 A. It was important enough to raise 5 worked on at HarperCollins with Mr. Milter?

6 in the memo, so we felt it was worth 6 A. Yes.

7 questioning. 7 Q@. Do you have an urderstardirg of

8 Q. You remember the memo, but you 8 what the purpose of what you were doing was?
9 don’t remenber any conversations with Mr. 9 What was the purpose of the job that you were
10 Miller on the stbject? 10 performing?

11 A. No, I dor’t. 1 MR. RICH: I believe he testified
12 Q. Do you have a gereral 2 to it earlier.

13 recollection of any conversations taking 3 You can testify again.

14 place, even if you don’t have a specific 4 A. = ASI previasly eplained, it was
15 memory of the discussion, do you have a 15 to help give Mr. Miller a frame of reference
16 general recollection? 16 for his own independent evaluation of the book
17 A, I remenber general discussions 17 project.

18 about the extent to which Brian Wilson’s life 18 Q. = What do you mean by a frame of

19 deviated from the rom. It was a rather 19 reference?

20 astonishing story ad we were both struck by 2 A. ‘To make some canments about the
21 that and had discussions about that. 21 meruscript which he might take into

22 Q. Did you ever have any discussions 22 consideration when he did his ow reading of
23 with HarperCollins’ legal counsel on this @ it, and he was at liberty to agree with me or
24 subject? 24 disagree with me and to pursue revisions -- to
3 MR. RICH: “Ever” meaning at or @ pursue any revisions that might be necessary

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1 Hornfischer 1 Hornfischer

2 Q. = what do you remenber of that 2 you were done with your second report, you had
3 review? 3 invested considerable time in reading ard

4 A. It was a good evaluation. 4 aralyzing Wouldh’t It Be Nice?

5 Q. What do you remember -- that was 5 A. Safe to say.

6 your last review; is that correct? 6 Q. Did Mr. Miller read the initial
7 A. I thirk so. 7 264 pages of the manuscript that resulted in
8 Q. So your leaving HarperCollins was 8 this October ’90 report?

9 rot in any way precipitated by any criticism 9 A. I believe he did.

10 as to your work performance? 10 Q.  Sohe read it twice, then, as

11 A. No, in fact, I was on the verge 11 well?

12 of a pramticn shen I left. 12 A. I believe so.

3 Qa. = What pranotion? 13 Q. So you also drew -- I see here,
4 A. To associate editor. 14 the fourth paragragh don, “The chapters are
5 MS. DUMAS: Next exhibit. 15 raghly chronological, covering Wilson’s

16 (Document headed “"Reader’s 16 teenage years and taking us up to the peak of
17 Report,” dated October 9, 1990, 17 his fare, the begimirg of his dabbling in

18 bearing production Nos. HC08609 18 drugs, ard the resultant descent into paranoid
9 through 08611, marked Hornfischer 19 psychological instability.”
2 Exhibit 8 for identification, as 20 That’s a conclusion that you drew
21 of this date.) 21 based unm reading the first 264 pages of the
22 Q. —Hornfischer 8, which is HC08609 22 meruscript?
2 through 0811, it says "Reader’s Report. To: 3B A. Yes.
24 Tom. From: Jim.” Dated October 9, 1990. 24 MS. DUMAS: Next exhibit.
a Is this the initial, the earlier 3 (Multipage document titled

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1 Hornfischer 1 Hornfischer

2 report that. you had referred to earlier in 2 "Transaction Report,” bearing

3 your testimony today? 3 production Nos. HC08624 through
4 A. Yes. 4 08635, marked Hornfischer Exhibit
5 Q. Why is there such a time lapse 5 9 for identification, as of this
6 between the two reports, the October 1990 and 6 date.)

7 1 believe -- 7 Q@. = Let me ask you one question about
8 MR. RICH: March 91. 8 the last exhibit. When you were reading the
9 Q. = March 91? 9 passages that caused you to describe the

10 A. Due to the time it required the 10 meruscript at that point as describing a

11 authors to canplete the first draft. The 11 descent into paranoid psychological

12 first report was based on the first half of 12 instability, did you at that time have any --
13 manuscript approximately and the second report 13 did, at that time did you have ary question in
14 was based on the complete maruscript, so -- 14 your mind as to whether Brian Wilson was

5 Q. So for this report, you read the 15 capeble or campetent to write an accurate book
16 first half of the manuscript? 16 with a ghostwriter or to tell an accurate

7 A. Yes. 17 story of his life?

18 Q. For the March ’91 report, did you 18 MR. RICH: May I hear the

19 just, did you read the whole manuscript over 19 question again, please.

20 again? 20 MS. DUMAS: I will rephrase it.
21 A. Yes, because the first half had 21 Q. Reading the maruscript that

22 been revised. What we received, the basis of 22 caused you to conclude that --

23 my March report was a revised first half and B MS. DUMAS: Read back my

24 the balance of a first draft. 24 question. It was actually better the
5 ' @. So you had invested, by the time 3 first time.

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1 Hornfischer 1 Hornfischer

2 (The record was read back as 2 breakdown in the wake of his Vietnam war

3 fol lows: 3 experience and Philip Caputo, the war

4 . Let me ask you oe 4 correspondent, describes sane very serious

5 question about the last exhibit. When 5 periods in his life when he became estranged
6 you were reading the passages that 6 fran fanily, that sort of thing.

7 caused you to describe the manuscript 7 Q. Of course in the case of Colonel
8 at that point as describing a descent 8 North -- well, had you ever met -- did you

9 into paranoid psychological 9 ever meet Brian Wilson?

10 instability, did you at that time have 10 A. Not until after the book was

11 ary -- did, at that time did you have 11 published.
12 any question in your mind as to whether 12 Q. Did Tom Miller ever meet Brian
3 Brian Wilson was capable or carpetent 13 Wilson before the publication of the book?

4 to write an accurate book with a 4 A. Yes.

5 ghostwriter or to tell an accurate 15 Q. = When did he meet hin?

16 story of his life?”) 16 A. | don’t remenber exactly when,
7 A. No. 17 but I know he flew to Los Angeles to meet with
18 Q. Do you have any reason for why 18 Brian Wilson, Tocd Gold ad Dr. Lady at oe
19 you answered the question no? 19 point.
20 A, Yes. 20 Q. De you remenber any -- prior to
2i Q. —_ What’s that reason? 21 the publication of the book -- do you remember
22 A. It was generally known to us that 22 any concerns that were raised as to the
23 he was busy corcicting his solo career. We 2 accuracy of statements that Bria Wilson’s
24 received news clippings fran our publicity 24 mother, Audree Wilson, drank alcohol often?
2 department and from other people, news reports 5 MR. RICH: I would like to hear

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1 Hornfischer 1 Hornfischer

2 of his concerts and general camentary of 2 the question again, please.

3 people who were observing him in action that 3 (The record was read back.)

4 he was, seemed to be a whole person and 4 MR. RICH: You can answer.

5 competent and therefore capable of reflecting 5 A. No, I dort.

6 mhis life and discussing periods of 6 Q. Do you remarber prior to

7 difficulty for him. 7 peblication of the book, do you remenber any
8 In acdition, several other 8 corcerns being raised by anyone at

9 authors whose books we published had 9 HarperCollins, including the legal staff, and
10 psychological breakdowns, that kind of thing. 40 also I would add outside legal cansel, Genie
11 It’s certainly not sarethirg that’s as 11 Gavenchak, on the subject of whether passages
12 uncommn as meny people would Like to think. 12 fram the book describing Srian Wilson being
13 MS. DUMAS: What was the last 13 abused by his father while his mother stood by
4 part of the answer, please. 14 ard watched, do you recall whether there were
5 (The record was read back as 15 ary concerns about those passages raised?

16 fol Lows: 16 A. They weren’t expressed to me if
7 “In addition, several other 17 there were concerns. The legal department

18 authors whose books we publ ished had 18 functioned more or less autonomously from in
9 psychological breakdowns, that kind of 19 terms of their substantive review of the

20 thing. It’s certainly not something 20 meruscript. We were copied on their

21 that’s as uncommon as many people would 21 cccasional correspondence, but I wasn’t aware
22 like to think.” 22 of ary direct expressions of concern.

3 Q. = What authors are you thirkirg of 3B Q. Do you remember any concerns by
24 that had psychological breakdowns? 24 anybody at HarperCollins or outside legal

3 A. 1 think Colonel North had a 2 corsel as to the accuracy of passages that

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1 Kornfischer 1 Hornfischer

2 Q. What makes a well-written 2 MS. OUMAS: We are done with

3 autobiography? 3 this.

4 A. Aconplete ard nuanced telling of 4 MR. RICH: 1 think this is

5 ore’s life story. 5 getting truly beyond the pale.

6 Q. = What’s ruanced telling? 6 Q. What do you mean by fiction?

7 A. AS opposed to a simplistic 7 A. A revel or a short story.

8 telling. One which appreciates the conplexity 8 Q. You mean samethirg that’s rot

9 of life ad relates dilemmas av epiains 9 accurate? .

10 decisions avd talks about complex events ina 10 A. Fiction does not purport to

11 way that communicates to the reader the 11 accurately relate events. It’s an irrelevant
12 experience that the author had. 12 consideration.

13 Q. = Stylistically, I mean, an 3 MS. DUMAS: Thank you for your
14 autobiography that’s paraphrased, is that a 4 time over these last couple days and I
15 good autobiography? That’s not dialogue, 5 appreciate your patience.

16 shouldn’t an autobiography -- 16 Mr. Rich, can you propose a

7 A. Be all dialogue? 17 stipulation since { frankly don’t know
18 Q. Do you want a good portion of it 18 one that would be appropriate for

19 to be dialogue? 9 federal court.
20 MR. RICH: Objection to form. 20 MR. RICH: =I think we can talk
21 A. There should be dialogue. 21 about it. The oly stipulation that is
22 How much dialogue? 2 probably appropriate is waiver of
a3 A. 6.27 percent. I don’t know how a formalities with respect to signing on
24 much; what do you mean how much? 4 review of the transcripts. Sign under
3 Q. I ‘know that I don’t read books 3 perjury.

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1 Hornfischer 1 Hornfischer

2 that don’t have dialogue. 1 pick up a book 2 I do have a brief

3 ard when I’m readirg fiction and if it doesn’t 3 cross-examination.

4 have a lot of dialogue, I frankly get tired of 4 EXAMINATION BY MR. RICH:

5 it. That’s my own personal viewpoint. If I 5 Q. Several questions, sir, relating
6 was editing a book, I would have certain 6 to the document which has been previously

7 opinions about what I thought was a good book 7 marked for identification as Hornfischer

8 ard I’m asking you, based on your experience 8 Exhibit 3. Do you recall at yesterday’s and
9 as an editor ad a writer, what makes a good 9 to sate extent today’s deposition session
10 autobiography? 10 being asked certain questions relating to this
1 MR. RICH: You asked him that 11 document?

12 question and he answered it. 12 A. Yes.
B A. Let me make one thirg aburdantly B3 Q. I specifically direct your
14 clear. This mauscript is not fiction. It’s 14 attention to the paragraph at the bottan of
15 an autebiograghy and it is boud to contain 15 Page 1 ard you may recall givirg sone
16 dialogue wherever the author might remenber 16 testimony concerning the statement in the
17 conversations, 17 middle of that paragraph, "Given the totality
18 Q. Why do yuu say this is rot 18 of his breakdown, I wonder how much he,”
19 fiction? 19 meaning Mr. Wilson, “actually remerbers
20 A. By sinple definition, an 20 himself and how much he relies on Dr. Landy to
21 autobiography is not fiction. I would refer 21 fill in the blanks.”
22. you to Webster’s on that one, I’m afraid. 2 Do you see that, sir?
3B Q. — What do you mean by fiction? a A. Yes.
24 MR. RICH: Beth, I think you are 4 Q. Ms. Dumas asked you whether, to
3 ” losing it. 23 your knowledge, Mr. Miller acted on or
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1 Hornfischer 1 Hornf ischer

2 otherwise communicated your omn concerns in 2 testified about?

3. that regard in his own comnication of 3 A. Generally because Tam would often
4 reactions to the mruscript to ane or more of & agonize aloud over the need to call them ard
5 the authors; do you recall those questions and 5 set them straight at one point or ancther

6 giving certain answers? 6 whereupon he would close his door with same

7 A. Yes. 7 fanfare and I would hear him, I would hear

8 Q. = My question to you is, sir, to 8 muanblings and voices behind the closed door.

9 what extent were you privy to any or all of 9 Q. Did he ever tell you, did Mr.
10 Mr. Miller’s various conmnications with Mr. 10 Miller ever tell you that he had to set any of
11 Gold or Mr. Wilson or Mr. Landy for that 11 the authors straight with regard to the
12 matter with respect to his own reactions to 12 concern that you were, that Mr. Rich
13 the maruscript in its various stages? 13 identified fran your meno?
4 A. I received a copy of his 4 A. I don’t recall ever beirg briefed
15 editorial mem which he sent to the authors. 15 on the comments he was about to make to the
16 Q. Is it your understanding that the 16 authors. He handled this himself. This was
17 only form of camunication which Mr. Miller 17 his business --

18 had with the authors was reflected in that 18 Q. How do you know he had

19 editorial memo to which you referred and which 19 conversations?
20 has been marked in this deposition for 20 MR. RICH: Let him finish.
21 identification as Hornfischer Exhibit 9? 21 A. This was his business which he
22 A. Yes, that’s the mem. 22 handled himself ard I guess he is sort of
B MR. RICH: Could you read back my @ territorial about the content of his, about
24 question, please, to the witness. 24 the extent of his contact with the authors and
3 (The record was read back.) 2 what was said to then. He wanted to be the

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1 Hornfischer 1 Hornfischer

2 A. No, that’s not my understanding. 2 one presenting the face of the carpany to then
3 Q. = What is your understanding? 3. from the editorial stancpoint so my om

4 A. My understanding is that Tom 4 discussions with them was minimized.

5 ergaged in a process of continuous / 5 Q@. Your on discussions with the

6 camunication with the authors via telephone 6 authors were minimized?

7 to which these conversations I wasn’t privy to 7 A. Substantive discussions about

8 them. 8 editorial points, yes.

9 Q. To your knowledge, did those 9 Q. ‘With the authors?

10 conversations both precede and postdate his 10 A. Yes.

11 can menorarcim of March 25, 1991, his "i Q. You talked about it with Mr.

12 editorial memorandum? 12 Miller, did you not?

13 A. Safe to say, yes. 3 WR. RICH: What's “it”?

4 Qa. Is it your understandirg that 4 Q.  Sbstantive points.

15 there were numerous such interchanges between 6 A. I think I answered that

16 ‘him and one or more of the authors? 16 yesterday. I don’t recall any specific

17 A. ‘Yes. 17 conversations that we had, any discussions

18 PR. RICH: I have ro further 18 about specific points. 1 remenber passing

19 questions. 19 alorg my written comments and trusting that he
20 MS. DUMAS: I have a brief 20 would read them carefully ard form his own

21 question. 21 judgment.

22 FURTHER EXAMINATION 2 MR. RICH: One question of

2 BY MS. DUMAS: 3B recross.

24 . a How do you know about those 24 FURTHER EXAMINATION

25 telephone conversations that you Just 3 BY PR. RICH:

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i) EDWIN DIAMOND
f] and I really wanted to include this information in
(3) my book. Now, what do you do as a professional
(4) writer?
3 MS.SMOLER: A continuing objection
(6) to the hypothetical. However, I will allow him to
7] answer.
‘] THE WITNESS: Yeah, this is a
(9) problem area for me, because I am not a ghost
{10] writer, I would never be a ghost writer, you know,
(1) and it's hard for me to put myself - you know,
(12) 've never been a hooker, I've never been a ghost
{13] writer, so it’s hard for me to put myself in those
(14) shoes.
15] BY MS. DANIELS:
116} Q: Have you ever been a book publisher?
177 A: No, ’'mnota businessman, no.
(18) Q: So it’s hard for you to know - also
119} hard for you to know what a book publisher would do
(29) under these situations?
1) A: No, book publishers belong to the
[22] same - we're not talking about the accountants,
(23) we're talking about the people who edit books.
za) They're in the same craft, not profession, that I’m
(25) in; truth, words.

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iy EDWIN DIAMOND
|) question, I’m sorry. There is so many things I'd
| 1 like to say, but repeat the question.
| 4 (The pending question was read.)
|) THE WITNESS: I could explain it,
| ta yes, I can explain it,
im BY MS. DANIELS:

(4 Q: What is a ghost writer, in your

i] understanding?
[110) Az It’s a lower form - it’s one of the
j(*) lower forms of journalism, as tab TV is the lower
(12) form of television journalism.
13] Q: Does a ghost writer usually identify
(14) him or herself as an author of a book?
1} A: There are various contractual ways
(16 that this is specified, right? Sometimes the ghost
(17) writer is completely ghosty. You never know,
{18} right? Sometimes there is a little tip of the hat
(19) in the introduction, which would be the case here,
(20) as I recall.
1) Q: Do you think there was a tip of the
{22} hat in the introduction?
23] A: An acknowledgment. There is an
(241 acknowledgment that Todd Gold helped Brian Wilson.
25) Q: Do you recall the cover of the book?

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U1] EDWIN DIAMOND

(a Q: But writers are not professional

(3] writers, ghost writers?

(4 A: Ghost writer, entitled to First

is} Amendment protections. It is a big tent, the

6} Courts have decided. I wouldn't sit in that

™ section of the tent though.

] Q: Do you think there is something

9] Suspect about hiring somebody to help you write
(19) your autobiography?
(1) A: Suspect? I think we could figure a
(12) better word than that.
13] Q: Yeah, I gather from your reluctance to
(4) put yourself in the camp, I think was your word,
15] I'm not sure, of ghost writers, there seems to be
(16) some hesitation on your part about what they do,
(17) and I was wondering if you could explain that for
[18] me,
199 MS. SMOLER: I will allow him to
20] answer the question, but I will object to your
(21) characterization of his testimony. There is a
22) difference between a ghost writer and someone who
i2a] has been hired to assist writing an autobiography,
i24] but you can answer the question.
(25) THE WITNESS: A writer - repeat the

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i EDWIN DIAMOND
2 A: Yes, I recall the cover of the book.
(} = Q: Isn’t it true that Todd Gold’s name is
4) right there on the cover of the book?
(3) A: It says Brian - remind me of what it
(6) Says again. Brian Wilson with Todd Gold -
(1 MS. SMOLER: I believe it says
{8} Wouldn't It Be Nice: My Own Story; by Brian Wilson
(9] with Todd Gold.
(19) += THE WITNESS: With. Well, what does
(11) with mean?
{12} BY MS. DANIELS:
131 ~=Q: I don’t know. I’m not here to
(14) testify. What do you think it means?
15} MS. SMOLER: Well, I object to the
16] question. You're asking him to speculate.
(17 @Q: Well, obviously you have some problem
(1) with the word, and I'd like to know -
(199 A: A problem with being ghost writer? I
[20] would never do it for a living. I would hope none
21) Of my students would do it for a living.
(227 Q: Isee. How would you go about writing
23) a celebrity's autobiography?
24) A: I would never write a celebrity's
[25] autobiography.

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tt) EDWIN DIAMOND (1) EDWIN DIAMOND
(2] a letter so that there is a record of his 12} when I prepared - can I answer - when I prepared
13] objections. I mean, this is a businesslike memo. 13] my report, I was - the topic sentence was, at
14] Why would anyone question its accuracy? I mean, (4) every step along the way, clear warning signs
{5} the writer of this is saying here is what I got on (s) regularly popped up. And that was the topic
(9) the phone, and now it’s going to come. This (6) sentence. So I went through this material. We
™ happens all the time. You know, somebody will tell went through this material, we did many things.
(8) you something, and says I'm going to put this in {8} But one of the things we did was to look for, you
19} the form of a letter. So there is no reason, based 1s] know, warning signs. We are faced - you have a
(10) on being a journalist and being in the news 19.) book, the book is out, and we were trying to piece
(11) gathering business and writing books and dealing (11) together the sequence of how this book came out.
(12) with interviewers and lawyers and people all the (12) and we saw a series of warning signs, which we list
[13] time, this is perfectly within the envelope of (13) in our report. And this is what this report is
(14) one’s experience. Someone gets on the phone and (14) about, warning signs.
(18) yacks, yacks, yacks at you, and a stronger letter 15) @: Okay.And you conclude that
{16} follows and you take the notes. You do this - (16) HarperCollins did not investigate these warning
(17} BY MS. DANIELS: 117) signs, is that correct?
(183 Q: Do you always get the notes right when 1q) A: No,I don’t say that.I said at every
{19} you take them? 119) step along the way, clear warning signs regularly
(20) A: Journalism is a craft, an art, and one feo) popped up. Just as regularly, the HarperCollins
(21) tries, you know, we aim at the stars. Sometimes we f21] publication process plowed ahead.
(22) hit London. 27 Q: Well, what do you mean by plowed
23) Q: Do you sometimes include questions (23) ahead? Do you - are you -
(24 that you may have in your notes? (24) A: They listed it - you know, publishing
(2s) A: When you are taking downa (25) involves production schedules, it involves
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} EDWIN DIAMOND
(2) conversation from:somebody, you're trying, on the
(33 phone, to get - you've got all your faculties
14) focused as clearly as you can, try to screen out
(5) all extraneous things, get down what he or she is
(6) Saying. Get it down, get it down. No judgments,
m get it down. Get the information down. I'll react
(a) to it after I get it down. And this guy is on the
{9} phone beating into his ear and saying I’m going to
(19) send you a letter. It’s such a normal, everyday
14} kind of memo that - you know, I don’t look at the
(12) elevator certificate in your elevator when I get in
(13] that the elevator is going to operate. One day it
(14) doesn’t, maybe.
115} Q: Did you read the deposition testimony
(16) Concerning this document?
17 A: I think I tried to read them all, 1
(1a) think so.
19] - Q: Whose deposition testimony did you
(20) read?
(24) A: Tread them all, and you would have to
{22} show me, tell me which one you are referring to.
(233 Q: Well, do you remember any testimony
(24) about this document?
(25) A: I’m going to have to look at my -

EDWIN DIAMOND

catalogue listings, it involves publicity plans.
HarperCollins kept this project on track.

Q: Well, what is wrong with keeping the
project on track if you are investigating the
issues that come up?

A: If the driver is drunk, you know,
if - to use the analogy of the track, if you’ve
got a runaway locomotive, at one switch you've got
to pull a switch to divert it, to slow it down, to
send somebody to the engine room to see what is
going on. We see warning signs, and the image of a
runaway locomotive, we see this project moving
ahead with all these warning signs, and it keeps
going ahead.

Q: What evidence can you point to,
documents or otherwise, that suggest in any way
that HarperCollins failed to investigate these
warning signs? Show me some evidence.

A: I didn’t say that. I didn’t say they
failed to investigate them, I said there were all
these warnings signs and yet they went ahead and
the book came out.

Q: So you don’t know whether they
investigated them or not, is that correct?

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U1] EDWIN DIAMOND
) A: I didn't say that.
1) Q: What is your testimony?
4] A: The report testifies to the fact of
(8) warning signs. Now, if you want to discuss their
(6) investigation, that is another question.
m™  Q: Okay, let me ask you that question.
a =A: ‘Yes.
ts] Q@: What do you know about HarperCollins’
110} efforts in investigating some of the issues that
11) you have called warning signs?
2) A: They would - if they worked ina
(13] N€ wspaper or magazine, or if I were their book
14] editor, I would have kept sending this manuscript
(15) back until it was right.
(16) Q: Do you have any evidence to suggest
(17) that they did not do that, HarperCollins did not do
(18) that?
(1} A: Tread testimony about his line
(20) editing, I read Miller’s suggestions to Gold, I
i21) think there were some signals sent back from New
te] York to Los Angeles, yes,
(233 Q: Some signals about what?
(24 A: Explain this better, do we really have
26] tO go into this, what does this mean, you slept in

Page 63
‘ty EDWIN DIAMOND
| 2 «© Q: What if you had investigated each and
{3} €very warning sign and satisfied yourself, would
| 4) that change your view?
|) A: What ifI-
; } Q: What if you had investigated each and
™ every warning sign and satisfied yourself that they
| @) were not sufficient to warrant a decision not to
(s] publish the book? Would that change your view?
(109) MS. SMOLER: I object to the
{11} question in that it doesn't accurately reflect the
(12) facts of this case. However, I will allow him to
(13] answer the hypothetical.
(14) THE WITNESS: Now I've forgotten the
{15} question. I’m sorry. What was the question?
116) Would I have published -
17] BY MS. DANIELS:
(18) @: Would you have published the book if
(1 you had investigated each and every warning sign,
feo] as you put it, and satisfied yourself that it was
f21] Not necessary to make a decision not to publish the
(24, book.
3] MS. SMOLER: Same objection. You
f2e4) Can answer it,
5) THE WITNESS: It’s a hypothetical,

Page 62
{1] EDWIN DIAMOND
f2) the same room with two Sisters, this is very
3] bizarre, what is going on. I mean, there were some
4] picking around the edges of the story, yes. But
(s) what they were doing on the train in the first
(6) place, that is the fascinating question.
™  Q: So you never would have published this
(§] autobiography regardless of any comfort level you
(3] could ever obtain about the credibility of Brian
(10) Wilson, is that correct?
11) A: Iflran HarperCollins, I would have
{12} invited them to go to some other publishing house.
(13) First Amendment, they are entitled to publish it
(14) elsewhere. My kind of publishing, I wouldn’t have
11] published it. But I would, you know, suggest maybe
(16) take it over to Lyle Stuart.
(17)  Q: But it would have been okay for Lyle
(18) Stuart to publish it?
19] A: I’m not Lyle Stuart. He has to
(2) answer. You asked me a hypothetical, if I were
(21) Bill Shinker, if I were running HarperCollins, I
(22) would not have published this book, no.
123} +=Q: Why not?
24) A: Because as the report says, all the
{25} Warning signs that were in it.

Page 64
(1 EDWIN DIAMOND
(2] So I have to answer in that spirit.
13) Given all, what I call warning signs,
4] you know, Geiger counter ticking away, Brian
(5) Wilson's history, Landy’s role, sending - given
i) the history of the project, the history of the
1) writer, given the circumstances of the book, if I
(8) were running HarperCollins, I would have taken a
8] pass on that. Who needs it? You know, that
(tq) doesn’t mean Brian Wilson ~ Todd Gold isn't
("1] entitled to sell the Brian Wilson story, or Landy
(2) isn't entitled to sell the story someplace else.
13] But if I were running HarperCollins - you know,
(14) HarperCollins was a great - when I grew up,
15} HarperCollins was Harper & Row, and was a great,
(16) you know, kind of white shoe publishing house.
17 Kind of classy publishing house. It wasn’t Lyle
(18) Stuart.
(19) (Recess taken.)
(20) BY MS. DANIELS:
f) Q: Mr. Diamond, going back to your litany
[2a] of warning signs, you mentioned the role of, I
[23] believe in your words, the Svengali Landy.
(24 On what basis have you concluded that

\12s) Eugene Landy was Svengali-like?
!

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Edwin Diamon@4-cv-00892-JEC-LFG Document 76

VoL. 1, July 24, 1995

Filed 10/ CRP Wilsor Wid Audros Wilson v.

HarperCollins Publishers, Inc.

(t} EDWIN DIAMOND
(q) the changes in the book business, in the last 35
3] years. I just want to get that on the record. I
(4] mean, I was put off by the word studies.
5} You know, writers, we call ourselves
is) reporters. So I have reported and studied and
[ written about the book business over the last 35
(8) years. That's ~ let’s clear that one up.
(9) Secondly, what evidence do I see of
[19] what is happening, the changes in book categories.
(111 I just got done, at the request of - you want
(12) studies? I'll give you studies. I call it
113] reporting, okay? I was called, told we're - they
(14) are preparing a 50th anniversary, when will anybody
(15) see this? Anyway, they are preparing some special
(16) report. They asked me to discuss the changes in
(17) publishing in the last 50 years, and to make a
(18] projection for the next 50 years. So yes, I've
119} done a study of these things. How do I do
20) studies? I interview people, I talk to people, I
(21) think, I read, I look at what I've written, and
22] I've made some conclusions about how book
23] publishing has changed in the last 50 years.The
24) paperback revohution, self-help books, celebrity
28) autobiographies. I was going to say cheap, lousy

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Page 119
iy EDWIN DIAMOND
7 MS.SMOLER: Objection, which
3] report? This report marked Exhibit 1?
4] MS. DANIELS: Yes, Exhibit 1, the
(§] €Xpert report in this case.
6} THE WITNESS: I was intending to
(1 make a general statement about the atmosphere of
8) publishing in New York today.
1 BY MS. DANIELS:
(19 ~~ Q: So you have no specific information
(11] about HarperCollins that would lead to you
(12) believe -
13] MS. SMOLER: Objection.
(14) THE WITNESS: That is not true.
(15) That orange crate full of stuff was to me, you
(16) know, the demonstration. There was the proof right
117) there, that this project gets commissioned, steams
(1a) ahead and comes out, is an example of what I was
(19) trying to say.
(20) (Discussion off the record.)
(21) BY MS. DANIELS:
a} Q: On page 2 of your report, you state
(23) that new-think arithmetic that leads to the
[24] purposeful avoidance of fact and truth is simple.
(25) I'm sort of misquoting it, but what do you mean by

Page 118
1] EDWIN DIAMOND
2) stuff, but I'll use a different phrase.
(3) I wrote a piece for New York called
(4) The Death of Truth, which I would love you to
(s] read.And I talk about the declining standards of
é] truth in book publishing. The piece has been
™ anthologized and recorded and quoted. And I think
(9) it’s in your - I would urge you to take a look at
9] it, if you want studies.
(19) @: Does the book mention HarperCollins?
(17 A: I'd have to go read it again. Let me
(14) just give you the name of the book.
13] «=: That’s all right.
(14, A: The article is 33,The Death of Truth,
(1§] the Increase in False Information Being Published,
(1¢} New York Magazine, May 3, 1993, abstract and text
117] available on-line. If you want to send me a
118} self-addressed envelope, I will send you a copy of
(19) It.
(20} So Ihave done studies. I prefer to
2) be known as a reporter, but I have done studies.
22} Q: Now, in preparing the report, were you
23] intending to make just - make a general statement
24] about book publishing generally, or were you
2] intending to make a statement about HarperCollins?

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ty EDWIN DIAMOND
(2) new-think arithmetic?
8] _ A: It’s coming out of the thoughts about
4] these being publicly traded media conglomerates,
i) where it’s - that’s one aspect, is the
{8} conglomeration of the book, which is another aspect
™ which I tried to explain. In my article on The
ts] Debt of Truth, the general rise in tolerance, I was
4] kidnapped by aliens, and the general - the kind of
(19) sliding back down the evolutionary tree of
{11} journalism back to, you know, the 19th century.
12) Q: Well, do you have any evidence that
(13] HarperCollins is using new-think arithmetic to
(14) purposely avoid the truth?
15] A: Again, this —- the Brian Wilson book
{16} was fresh in my mind when I wrote this.
(17 Q: So the Brian Wilson book is evidence
(1g) that HarperCollins employs new-think arithmetic to
{19} purposely avoid the truth, is that what you're
[20] saying?
iz) A: It struck me as an example of the new
(2) reality in the book business today.
3] | Q: Have you spoken to anyone from
(24) HarperCollins who confirmed that new-think
(25) arithmetic was at work and led to the purposeful

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HarperCollins Publishers, Inc.

Filed 10/18/95 Page 39 af gears Diamond

1, July 24, 1995

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EDWIN DIAMOND

avoidance of the truth?

A: Have I - I’ve read the materials in
the depositions and came to that conclusion from
that.

Can I add something? As a journalist,

I found these - as someone who has tried to get
information for 45 years as a reporter, I realize
how weak and inadequate the journalistic techniques
are compared to what really goes ~ you know, to
see this crateload of - this orange crate of
material was, you know, something you don’t as a
journalist get to see usually, these internal
memos, and it’s very hard to ever penetrate this
deeply. So this gave me a greater look into an
organization than most journalists get, as, you
know, normally we deal with people and what they
tell us; here is a case of what was really going on
inside.

Q: And what is it exactly that you
reviewed that made you think that HarperCollins was
purposefully avoiding the truth because of economic
pressure?

A: I don’t say that HarperCollins
purposely avoided the truth because of economic

Page 122
EDWIN DIAMOND
pressures. I say that too many publishers think
that way, and the Beach Boys book - I’m sorry, the
Brian Wilson book struck me as an example of we've

{3}
4]

[10]
[11]
(12)
(13]
{14]
[15]
(16)
(17)
[18]
(19]
[20}

Page 123
EDWIN DIAMOND

Q: The size of HarperCollins budget.

A: I don’t see what relevance that had to
this book in front of us.

Q: You seem to be making assertions that
$250,000 is a lot of money, and put undue pressure
on HarperCollins, and I was wondering whether you
took the time to figure out whether that was a
sizeable sum in relation to the rest of the budget.

A: It’s a sizeable sum in relation to a
book contract, and you can ask 99 authors and
they'll tell you that.

Q: Which 99 authors are you referring to?

A: The 99 who aren't named, Colin Powell,

Brian Wilson and Newt Gingrich.

Q: The 99 who are not those people?

A: Who are not named.

(The deposition of EDWIN DIAMOND was
adjourned at 1:10 p.m., for a luncheon recess.)

(

Page 124

[2] APPEARANCES OF COUNSEL:

's] got a quarter of a million dollars invested in a (P.M. SESSION)
i this, you know, we can make some - this is a big (5I
7) name, all those kids will buy the records, will buy (6)
1s} the book, and you know, a quarter million dollars 71 KATHERINE J. DANIELS, ESQ.
19] is a lot of money these days. (a) ELIZABETH STOTLAND WEISWASSER, ESQ.
tq) Q: Do you have any personal knowledge (9) ARLENE R. SMOLER, ESQ.
(14) about HarperCollins overall budget? (10)
(127 A: I have journalistic anecdotal personal 11]
113] knowledge of how book publishers operate. 112}
14)  Q: I don't believe that was the aa
(15) question. 5
(16) Do you have any personal knowledge [16]
17) about the size of HarperCollins’ budget? [17] REPORTED BY:
a) A: IT could sit down and extrapolate and (18) DAVID HENRY, RPR
(19) figure it out. 19]
20)  Q@: And how would you go about doing that? 20]
21) A: The number - I make three phone calls [24]
122] and find it out. Two phone calls. {22}
g33 Q: Did you make those phone calls before (23)
(24) writing this report? (24)
25} A: Phone calls about what? Ps)
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i 2 FOR THE DISTRICT OF NEW MEXICO
3
i
CARL WILSON, et al.,
5
i Plaintiffs,
6
i v. No. CIV 94 892 JC
7
HARPERCOLLINS PUBLISHERS, INC., a Delaware corporation,
8 .
i Defendant.
9 ORIGINAL
i 1
11 TELEPHONIC DEPOSITION OF JANET ROEHL
i July 31, 1995
12 10:15 a.m.
201 Third Street, Northwest, Suite 2200
i 13 Albuquerque, New Mexico 87102
14
i 15 PURSUANT TO THE FEDERAL RULES OF CIVIL PROCEDURE, this
deposition was:
i 16
17 TAKEN BY: MS. KATHERINE DANIELS
ATTORNEY FOR THE DEFENDANT
i 18
19 REPORTED BY: MARY ABERNATHY SEAL, RPR, RMR, RDR, NM CCR #69
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3
JANET ROEHL,
after having been first duly sworn under oath, was
questioned and testified as follows:
EXAMINATION
BY MS. DANIELS: ©
QO. Good morning, Ms. Roehl.
A. Good morning.
Q. According to your resume, you’re a professor at
Eastern New Mexico University; is this correct?
A. Assistant professor, yes, ma’am.
Q. Okay. And the subjects you teach are listed in your

resume; is that correct?

A. Yes. Do you want to know the courses I teach?

Q. Why don’t you just go ahead and list them? I
believe they’re listed in your resume, but let’s just list them
one more time.

A. Okay. I teach mass media law, ethics of public
communication, two communication design courses, photo
journalism, the basic reporting course, investigative

reporting, and then several other writing courses.

Q. Are these undergraduate or graduate courses?
A. Undergraduate. Most of them are upper division.
Q. Other than teaching, what journalism jobs have you
held?
A. None. I’m an academician.
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4

1 Q. So you have never been employed in-house by a book
2 publisher?

3 A. No, I have not.

4 Q. What, then, is the basis for your expertise with

5 respect to book publishing and the day-to-day activities

6 involved in book publishing?

7 A. I was asked to discuss journalism practices and

8 standards.

9 Q. So you also do not have an expertise in the

10 publication of celebrity autobiographies?

11 A. No, I do not.

12 Q. I think I’d like to begin by marking a copy of your
13 expert report as an exhibit.
14 MS. DANIELS: I believe Mr. Purcell has a copy
15 there.

16 MR. PURCELL: Yes.

17 (Exhibit 1 marked for identification.)

18 Q. Ms. Roehl, could you describe for me, please, how
19 your report was prepared?
20 A. I’m not sure what you are asking.

21 Q. Did you draft the first -- or did you write the

22 first draft of your report?

23 A. Yes, I did.
24 Q. And you sent it to Ms. Dumas?

25 A. No, I did not send her a draft. I sent her a final

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15
not appear that HarperCollins made any attempt to verify the
claims made by Brian Wilson and that they did not seek
confirmation from other sources"; is that correct?

A. "And locate documents," is the rest of that
sentence, yes, it is.

Q. Other than the documents cited in your report, what
evidence do you have that HarperCollins failed to verify

Brian’s version of the facts?

A. None.
Q. I’m hearing a long pause. Did you hear my
question?

MR. PURCELL: Katherine, it was answered.
MS. DANIELS: It was answered?
MR. PURCELL: Yes.
MS. DANIELS: Could you repeat the answer,
please? I didn’t hear it.
A. None.
Q. (By Ms. Daniels) Did you consider Ms. Gavenchak’s
testimony on this point?
A. No, I looked again at the documents that were
provided to me with the HC preface.
Q. Do you recall Ms. Gavenchak’s testimony that Brian’s
stories were substantiated, where necessary, with other

published sources and with interviews with other people?

A. I don’t remember that exactly. I remember in her
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14
Q. How do you square all of this testimony with the
conclusions that you reach in your report?
A. "Square" meaning what, in this situation?
Q. I mean, how did you reach the conclusions in your
report, in face of all of this testimony?
A. I think that it’s critical that your primary source

on this kind of review are those documents written at the time,
and those are the ones I weighted. I think after-the-fact
explanations are just that. They’re simply explanations
prepared after it is over.

Q. So you would prefer to rely on handwritten telephone
notes from -- handwritten notes from telephone conversations
than sworn testimony given under oath?

A. I think documents, notes that were prepared during
the event, would, to me, be stronger or would be more helpful
than those that are --

Q. How can you be certain that your interpretation of
those documents is correct?

A. I can’t. I am reading them at face value.

Q. Wouldn’t it be logical to go to the deposition
testimony, see what the people who wrote those notes have to
say about it?

A. Well, my preference was to rely on the current -- on

the documents that were in place at the time.

Q. In your report at page 5, you state that "It does.
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16
deposition some reference to an article or to another book.
Something to do with heroes and villains. I think that was her
deposition. I’m not sure.

Q. Did you consider that testimony in forming the
opinions set forth in your report?

A. No, just on the primary documents provided.

Q. Do you recall Ms. Gavenchak’s testimony that she and
Mr. Gold went through the manuscript page by page, and Mr. Gold
answered each of her questions concerning the sources for

specific statements?

A. Yes.

Q. Did you consider that testimony in forming your
opinions?

A. No, I was really looking here at Brian Wilson’s

role, as well; not just Mr. Gold's.

Q. What evidence do you have that -- well, maybe you
could explain that for me. I don’t quite understand how
that --

A. Well, I was looking for both Mr. Gold’s verification
as well as Mr. Wilson’s, and in the HC-prefaced documents, I
did not see where Mr. Wilson -- that there was some concern
that he had read that thoroughly, and there was some suspicion.

Q. Did you consider the testimony on that point, the

deposition testimony?

A. That Mr. Wilson had not read it?
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17
Yes.
A. No, I went again to the recorded conversations
between Mr. Martin and Mr. Engel, as well as several others

where they were concerned he had not read it.

Q. The recorded conversation between Mr. Martin and Mr.
Engel?

A. That there was some suspicion there that Mr.
Engel -- from Mr. Engel that Mr. Wilson had not read the

manuscript, and there were some other documents that indicated
some concern that Mr. Wilson was only reviewing the material in
a cursory manner.

Q. Well, let me read a paragraph from one of the
documents that you cited in your report. It’s number HC00486.
This is a memorandum that Matthew Martin did to the file on
July 24, 1991. In it he summarizes or he describes a meeting

he had with Brian Wilson. Do you recall the document that I’m

mentioning?
A. If you can wait a moment, I’m looking it up.
Q Okay.
A. Okay, I have that document.
Q Would you please turn to page 6 of this document,

which is numbered HC00491?
A. Yes, I have that.
Q. These are Mr. Martin’s notes from a conversation he

had with Don Engel on July 24, 1991; is that correct?

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22
1 meaning of the term?
2 A. If you want, I have her report. If you’ll give me a
3 moment, I'll find it.
4 Q. If it would help, I can identify the page number for
5 you. Why don’t we just come back to this in just a minute?
6 A. Here it was, on page 9, where she talked -- the
7 first full paragraph --
8 -Q. Okay.
9 A. -- was the reference, where she defined "crash" as
10 completed fairly quickly.
11 Q. Let’s wait a minute so I can get the text of it.
12 Based on Mr. Diamond’s testimony, which you haven't seen, but
13 which I just relayed to you, and what Ms. Drew says in her
14 report, you wish to maintain your view about the meaning of the
15 term "crash schedule"?
16 A... That I would have no other frame of reference to
17 change it, you know, without going into and speaking to Mr.
18 Diamond or -- I’d be uncomfortable with a change.
19 Q. I‘m sorry?
20 A. Without speaking directly to Mr. Diamond, I still .
21 think "crash" would imply an immediacy.
22 Q. In your report, you state that HarperCollins failed
23 to address the likelihood that Eugene Landy may try to use this
24 publication to promote his own agenda; is that correct?
25 A. Yes.
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23
Q. What evidence do you have that HarperCollins failed
to address this issue?
A. Just a moment, and I’1]1 find that reference. There

were several references in the HC prefix documents about Landy,
and his -- I think it was referred to as undue influence on
Brian Wilson. And those are cited on page 4 of my report.

Q. Is there anything else that you relied upon in

reaching that conclusion?

A. No.

Q. I may have missed that answer, too.

A. I’m sorry. No. If there’s a pause --

Q. Did you consider the deposition testimony on this
point?

A. No, I primarily on this focused on the HC-prefixed
documents.

Q. Do you recall Mr. Miller’s testimony that he

repeatedly sought reassurances that Eugene Landy was not
inappropriately involved?

A. I don’t remember that directly. I do remember in
his deposition he did address that issue.

Q. But you didn’t consider Mr. Miller’s testimony in

reaching the conclusions set forth in your report; is that

correct?
A. No, not on -- no.
Q. Did you consider the paragraph from Mr. Martin’s
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notes of his July 24, 1991 conversation with Don Engel that I

previously read to you?

it is not all that favorable to Landy and Engel’s opinion, nor

does it appear to be Landy’s parting shot, as he feared it

might be.
A. Yes, I do have that.
Q. Did you consider that?
A. I looked again at the document in total. And let me

see that. I could find that quote. It’s cited in my report.
Here they talk about on the next page, page 7, HC00492, where
they talk about they wanted to be in a position to press
forward with their effort to have a permanent conservator name
for Brian to protect him from Landy’s undue influence. The

next one, Landy is asking for a lot.

say, and then I’1l re-ask my question.

going on in there reading about that Landy is asking for a lot,

and so forth, that in this there were several references to

24

A. What reference are we speaking of?

Q. On page 6, number HC00491. Mr. Diamond states that

(A discussion was held off the record.)

Q. Let's let Ms. Roehl finish what she was about to

A. Okay. I’m not sure where I was. But anyway, I was

their concerns with Landy.

Q. Then what, in your mind, is the relationship between

these statements concerning Eugene Landy’s influence over

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24

25

25
Brian’s finances -- what does that have to do with the notion
that Eugene Landy was using this book to promote his own
agenda?
A. Well, the fact that he was concerned, that he was

wanting his consultation on it, that they were consulting, that
his overall influence -- undue influence, using their
vernacular, over Brian, there were comments that Brian was

scared of him, and so forth.

Q. Did you review Mr. Miller’s testimony on this
point?

A. That they did discuss it. I don’t recall
specifics.

Q. Do you recall Mr. Miller’s testimony that his

understanding was that Eugene Landy was used by Todd Gold as a
source for information about his treatment of Brian, and their
business life together? Do you recall that testimony?

A. I recall about -- no, not specific. I recall his
talking about whether he was a consultant, and so forth.

Q. Do you recall Mr. Miller’s testimony that he was
never under the impression that Eugene Landy was a source of_
information about Brian’s life, other than his experience in
treating Brian and their business relationship?

A. I don’t remember that exactly, no.

Q. So you didn’t consider that testimony in reaching

the conclusions set forth in your report?

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A. No.
Q. I’m sorry. Again?
A. No. I’m sorry.
Q. I didn’t pick that one up. Was that an answer?
A. No.
Q. Why don’t we go off the record for just a minute?

I’m going to look through my notes, and I think we may be
.done.

(A discussion was held off the record.)

MS. DANIELS: I have no further questions.

MS. ROMERO: We have no cross-examination. We'd

like to read and sign the transcript.

(The deposition concluded at 10:55 a.m.)

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born, maybe while I was pregnant. Murry was really against
drugs, and at first so was Dennis. This was one way Dennis
could be separate from everybody else and get the love he
wanted from Murry. I would say a big part of Dennis’s problem
was that he could never connect with his father or please
Murry.”

But of all the problems Carol had with Dennis, his extra-

‘marital affairs hurt the most. While Dennis was extremely prim

and moral about Carol—she joked that she was the only woman
on the beach in a turtleneck bathing suit—he had another
standard for himself. Dennis cheated on Carol without apol-
ogies or apprehensions. He bragged to his friends that the night
his daughter was born, he made love to another woman on the
lawn of his house. Frequently he would come home from tour-
ing with a case of gonorrhea, contracted from a groupie on the
road. He and Terry Melcher and Gregg Jakobson formed a club
called the Golden Penetrators. “They considered themselves
roving cocksmen,” Carol said. “It was mostly guys hanging out
and getting stoned.” Gregg Jakobson donated his old car. “They
even painted this old car gold, drove it up our driveway, and
parked it on the side of our hill. It hurt, of course. You don’t
like thinking of your husband belonging to a club called the
Golden Penetrators. It was tough.”

When the fights with Carol became onerous, Dennis would
disappear for days, usually sleeping at Gregg Jakobson’s house.
The marriage took a disastrous turn with the death of one of
the horses. Dennis claimed that Carol had starved it to death:
Caro! said it had gotten pneumonia and had to be put to sleep.
The horse’s death caused an irreparable rift. Much to Carol’s
relief, early in 1968 Dennis finally rented his own place, an
enormous house at 14400 Sunset Boulevard. Once a hunting
lodge owned by Will Rogers, it had vast, manicured grounds
with trees so rare they were registered. The house was wood-
paneled, with handmade furniture, and out in back was 2
swimming pool the shape of the state of California.

Murry and Audree’s marriage continued to have its ups and
downs. Audree loved Murry, and could see the misguided but
well-meaning man so often hidden from strangers by his gruff

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HEROES AND VILLAINS 191

exterior. But even for Audree, Murry was often difficult to take,
and she spent much of her time at her favorite son Carl's house
pefore Murry bought a second house for her to live in. Still,
(Urry and Audree were extremely dedicated to one another.
“One major breach occurred when Murry discovered that his
sons were smoking marijuana. “I remember Carl and Brian
telling me,” Audree said, “we were walking through the air-
ort—they had just come back to Los Angeles from some-
place—and {they told me about smoking pot]. I just choked
because at that time it was such a new thing to me....I knew
nothing about it except, ‘Oh, stay away! Dangerous! Bad!’ And
of course, their father, oh Jesus, he just went wild cause they
all told him—they were very honest. I wished they had never
told us.” Murry forbade Audree to have anything to do with
them. “It was a terrible time in my life,” she said. “He wouldn’t
allow them to come over until they would say, ‘I’ll never touch
another marijuana cigarette again.’ I only got to see them sort
of sneakily because he didn’t want me to go to their houses.
Instead of asserting myself and saying, ‘Go to hell, they’re my
sons,’ I did what he told me.” Murry finally relented on Christ-
mas Day of 1967. “All of a sudden,” Audree related, “he said,
‘You can have the family for Christmas,’ and I was ecstatic. I
was so thrilled—they all came and had a wonderful day. But
the important thing that I remember was the pain of the months
he wouldn’t allow them to come to my house.”
The worst was to come in January 1967, when Audree went
on a short vacation to Las Vegas with her brother, Carl Korthof.
Carl, who had been trying to cut down on his drinking because
of a serious heart condition, had been introduced by his neph-
ews to a much less lethal high—marijuana—and had brought
some with him to Las Vegas. By this time Audree was no
stranger to marijuana. One morning while her brother was in
the other room, he had a sudden and fatal heart attack. In a
panic, Audree called for an ambulance. When the police and
paramedics arrived, the first thing they saw was the marijuana
on the living-room coffee table. Already beside herself with
shock at her brother’s death, poor Audree was now arrested
and “put behind bars,” according to Carl’s son, Steve
Korthof.

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Said Steve, “I flew to Vegas with my mom and Murry, and
Murry didn’t know anything about [Audree’s arrest]. They were
going to Vegas to identify my dad, and when they got to the
hotel I already knew. I didn’t say a word. They were told that
Audree was at the police station. So Murry says, ‘Police sta-
tion? I guess she went to file a report.’ When he got down to
the station and went to the normal department where she should
have been, he found out she was [being held] in the narcotics
division. ‘What?’ he said. When he found out what happened,
he totally flipped out...oh Jesus, when he found out...” It
took a long time for him to forgive Audree for that one.

During this period Murry was still promoting various new
ventures in the music business. He had recently re-teamed
with Rick Henn, of the Sunrays, who said he “sort of became
Murry’s Brian.” One of Murry’s projects was to write unsoli-
cited jingles for television commercials, “because he felt the
sponsors needed his help,” according to Rick Henn. “Little did
Murry know that no advertising agency takes outside input.”
Murry wrote and recorded a Kentucky Fried Chicken com-
mercial and a Taco Bell commercial, among others —all were
politely turned down. The only song of Murry’s to be heard
by the general public was one he wrote with Brian under the
pseudonym Reggie Dunbar, called “Break Away.” The Beach
Boys released the song as a single in June 1969, without much
success.

But to Murry, his most important project was the LP entitled.
The Many Moods of Murry Wilson. Murry wrote and produced
most of this album, with Don Ralke doing arrangements.
However, Murry still fancied himself a talent scout and show’
cased a new discovery on the LP—a forty-year-old plumbe!
named Eck Kynor who had helped with the renovations 0”
Murry’s Whittier house. Kynor was represented on the album
by tunes called “The Plumber’s Tune” and “The Happy Song:
Also included on the LP were tunes entitled “Leaves” an
“Betty’s Waltz” (with an assist from Audree). Capitol release
the album in October 1967.*

“Allegedly, Murry arranged for Capitol to have the cost of his album charged back ©
the Beach Boys’ account.

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tight. aad the increasing sound volume
that was beginning to butner ais one
good car Those reasons never changed.
gnd :¢1s cumous that Brian returned to
roueing (a the latter half of the 1070s.

In addition to his dislike of live per.
rorming. Bran was also having dirticul-
nes mocher afeas He was having trouble
dealing with the group's rapid tise and
the mereused pressures that success
brought. Brian was nut a stay-at-home
asa teenager: he was an athlete. un acuve
person Less than two vears into the
Beach Boys’ existence. Brian was already
partially in recreac, although in 1963. che
highs and lows were relatively balanced
and Bran was a “happy” person.

Asa hitmaker. Brian was having no
problems at all. He was incredibly pro-
lific: the melodies seemed to spiil trom
his head onto the records. and resulted
in an incredible string of seven straight
top-ten singles. As Chuck Britz remem-
bers. Brian was so fruitful that ‘‘he would
write a song on the spot that would be a
hit’ and he might not use it because
“he'd come up with something better
and he'd use it”” instead.

The music world loved Brian's work.
vet Murry could still find fault with
Brian's ideas. Audree Wilson insists that
Bran and Murry ‘‘didn’t fight a lor
about the music.”" but she relates one
disturbing incident that may exemplify
the kind of arguments that occurred be-
tween tacher and son. ‘When Brian

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| Frederick Veil Productions

CHRISTMAS CONCERT

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THE BEA

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SACRAMENTO

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wrote ‘Surtin’ U.S.A..°"" Audree re-
calls. ‘*I was down in the music room
with him and Murry was up in the bed-
room watching TV. Murry came rushing
down, and he criticized his [Brian's]
rhythm. Brian was furious. just furious.
He said, ‘Fuck you!’ [t was just horrible.
And I said. “Brian! And Carl was sitting
down there. too. and he said. “Brian!”
Murry never got over that . . . he used to
bring chac up to me. | was supposed’ to
go over there and hit Brian with a board,

of clobber fim or some horrible thing
because ne said that. [ didn ct approve of
it (the protanity}. burl didn’c think ic
called tor that.”

There were two other noteworthy
events that touk place in 1963. Bran
broke up with Judy Bowles. and Gary
Usher helped his lovelorn pal by intro-
ducing him to Marilyn Rovell. a cousin
of a girl he was dating, Ginger Blake
iwhose real name ts Sandra Glanrz),
Marilyn eventually became Mrs. Brian
Wilson.

The other big happening was the re-
curn of Al Jardine to full-time status as
a Beach Boy. With Al back in “the
family.’ the Beach Boys’ lineup ap-
peared to be sec: However. 1964 would
be the last year Brian Wilson would be
a full-time Beach Bov.

It was also the year that the decade
called ** The Sixties’ finally began in
California. The vears from 1960 to 1963
had been an extension of the fifties’
easygoing complacency. The assassina-
won of President John Kennedy may
have ended che fifties for Caiiformia. If
ithadn’t. the Vietnam War certainly
would have. Sell. as 1963 ended. Cali-
fornia was mostly preoccupied with it-
self. It cook the arrival of the Beatles to
shake chat sunny state out of its blissful
provincialism.

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g. Inother words. 10 Was a break-
a etiud I must have cried abour
st ees the next day Every half
oe Id start crving. Carl came to my
note room, [ saw him and | just slam-
med rhe door in his face. [ didn’t wanc
nage him or anvbody, because | was
Sipping out Nobody knew what was
“Tygon Ewoulda’ talk, [just pucmy
nead down and wouldn ceven look at
“aebods That might. the road manager
vook me back to LAL, and [ didn't wane
vasee anybody except my mother She
as at the aifport to Meet me. As soon
ys [saw her, I started crving again. I just
needed to hear her talk to me: it's a kind
of security co be able to talk to vour
mother asf can talk to Audree. We went
over to the house and we had a three-
nyur talk here. [ told her things I'd
nevet told anyone in my life. and she sort
of straightened me our. Generally. I

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1

dumped our a litelong hangup."
Remembering that night, Audree
Wilson describes what happened. “We
received a phone call. . . saving chac
Brian was coming home and that he had
been crving and breaking down and
couldn’: carry on. He [Dick Cummings—
an accountant and a road manager} made
it very clear chac only I was to meet Brian.
not his tather. .. . Once again. my hus-
band was just crushed. and oh. just
furious with me."” Instead of being
worally concerned with whac was happen-
ing to Bran. Murry had found a reason
to get angry and be hurt. As Brian said.

TAN a tw

From Carl Wilson's high school semor
yearbook: Above. Carland date. Far
left, Marlyn Rovetl. Lert. Diane Roveit:
Below. Carl. Bottom, Bran and Mike
used to have pretend fights.

looking back on the whole experience.
"My dad always had a problem of under-
standing people and their feelings.”
Audree Wilson resumes the story: “I
met Brian at the airport. and we got in
the car’ and went to the house in Haw-
thorne. which the Wilsons still owned
even though they were living in
Whittier. At the house. Brian was
“really in a bad state. he was crving and
then he would stop crying. and he'd talk
abour—-"" Ac that poine. Audree refused
co reveal any more. The ‘lifelong hang-
up’’ Brian unloaded that night ts a secret

chat Brian and Audcree still share. The

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Pen)

bb A: bee Bs Rens see
7 rn an

Rising and shining: Brian Wilson (yawn) and bodyguard Scot Sceinberg

SLEEPERS AWAKE

HIS MAY HAVE BEEN, AS
the trades predicted, the bitchin-
est summer ever for the Beach
Boys. what with their new album,
therr tour, and Bran Wilson
finally getting out of bed. But as
far as I'm concerned these last
four months have been one end-

i less b at Idn't seem to
come up with a aew handle to ther venerable rock legend.
Let's face it, the Beach Boys are probably the most thor-
oughly written about, mythcuzed, analyzed. agonuzed
over and deeply probed pop group un America. And this
summer especially we've had Beach Boys up the ass:
di of heavy fe les in major magazines and
newspapers; a dazzling, hour-iong TV documentary; a
three-month concert tour of stadiums and fairgrounds
throughout the Linited States and Canada; release of /5
Big Ones, the first album of new Beach Boys maternal in
42 months, in honor of the 15 years they've msraculously
played. strayed. prayed and stayed together; and a
scholarly sounding paperback entitied The Beach Boys:
Southern Calitorme Pastoral, in which Cal State professor
Bruce Golden puts the guys nght up there with Dante.
Cervantes, Shakespeare and Milton as masters of the
pastoral form.

Well, why not, it’s a great legend, and just like nearly
everything the Beach Boys ever recorded. 1 can never siop
listening to 1t. Mainly it's about Brian Wilson, the par-
tially deaf boy wonder turned mad genus who tuned his
one good ear into the drone of muddie<lass Amenca and
heard the lost chord of God. Until it drove him nuts,
and finally silent.

So in June, when the word started spreading that Brian

was ready to talk for the first time in haif a decade. I flew
down to Los Angeles to conduct an official Rotimo
Srone intervew. But it didn’t work out exactly. Brian
wes ready to talk.all right, just as he was ready to walk or
ready to start dressing himself; but there could be no
defirutive Brian Wilson interview because Brian Wilson
was not yet definitively himself. Therefore I also talked to
the other Beach Boys and to Brian's mother, his wife and
his shrink. Plus in iate 1971 I'd internewed Brian's father
Murry, while he was still aitve, and | threw a Little of that
im somewhere.

The raw material, { think, is pretty good— some really
touching stones, sore laughs, hopefully some snswers.
But focusing it, as | mentioned, was a bitch. First I tried
oes” lke conetroonty comoour C Boys as

” like ip Cari Orff.
Both Orff and the Beach Boys ignored the virtuosic con-
trivances of established music and returned to the com-
mon, sample rhythms and harmonies of the people. They
both orchestrated this foik element with iayers of brilliant
tonal color and ambsance to produce a music of in-
credible spintuail purity. | mentioned this to the Beach
Boys and none of them had ever heard of Carl Orff.
Which in a way, I thought, re:nforced my theory but also
sort of soured me on it.

Finally. in late September, { returned to Los Angeles
at the suggestion of Brian's shrink. Dr. Eugene Landy.
He wanted me to see Brian's progress since June. That
day disturbed me a great deal, but 1 did provide an up-
date and ultumatety a focus for the story. For this in one
sense is &@ story of gurus. of old and new methods of per-
sonal growth in the promised land called Cahiforms.
Brian's father was a guru of sorts, a frustrated songwnter
and ruthlessly aggressive man who heard in his three
sons the music he could never articulate himself, who as
ther manager drove them to such heights of success
they eventually fired hum. Then Bran took over as guru

to the group, teaching the others his genius art of com-
posing and producing, teaching them so well that when
he eventually ascended to his bedroom, they could carry
on his work with the public hardly noticing. Later carne
the Beach Boys’ professional gurus— Mahanshi Mahesh
Yogi of TM and Dr. Landy of Dr. Landy.

I've no idea which method works best and | really don’t
care. But if you're seeking peace of mind and body,
positive energy and a little spiritual glue, let me strongly
tecommend adding some Beach Boys music to your day,
perhaps when you get up and just before dinner. [t'll
give you something.

MAMA SAYS

HE'S SO GOSH DARN CUTE,

the colorful clothes she wears and
the way the sunlight pisys upon
her short plaunum hair, you wish
they all could be California girls
like Audree Wilson, mother of
Cari, Dennis and Brian and den
mother to the Beach Boys since
sheir first days in Hawthorne,
Califorrua. More amazing, she was the wife of Murty
Wilson, by all reports an extremely ditticult man, as work:
driven as she was playful. a> rough as she was easy. A
smali, quiet, funny woman surrounded by fighung men,
she spent much of her ume and understanding bridging
gaps and soothing wounds. Now the old man has died
and the young ones have iong since moved away to grow.
old themselves; so Audree sts alone these days un an
elegant, hillside horne ebove Hollywood, with the view
and the pool and the shiny Jag in the driveway. and
(nes to adjust to the strange new peace that plagues her
every hour.

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AUDRER: wry it res!

wine on wr sa nree yore we ‘

He'd sing right on key. He loved ta ba,
mano, he loved the chords. ane * “= oe play the
chord again.” - we'd say, “Play that
Brar ue
oe Zhways had this incredibly marveious talent.
Tae other boys were a hktle slower, they were kinda like
slow bloomers. Bras marad writing arrangements whea
he was sround 14.440 dved the Four Freshmen—I kaow
you've read that over and over—and he would make
these incredible arrangements, sorta like them but he'd
add what he wanted. And we'd sing the first two parts on
the tape recorder, thes play it back and sing the other
two parts with it. That wes great fun.

Did he ever take formel piana lessons or anything like that?
acoréé: Brian took accordion lessons, on one of those

‘litle baby accordions, for six weeks. And the teacher

said, “I don’t think be’s reading. He just hears it once
and plays the whole thing through perfectly.” Anyway,
ai the end of six weeks he was supposed to buy a large
accordion. bus we couldn't afford s. And that's ali the
trauung he ever had.

Brian is deaf fade ear. Was he bora that way?

> AUDREE: We dow't really kaow. Brian thinks it happened

when he was acound ten. Some kid dowa the suet really
whacked him in the ear. However, it’s a damaged ninth
nerve, so he ve been born that way; it's called
the ninth nerve there's nothing they can do abouf
that. I think it makals hin more incredible.

The way he arranges, produces and records the ambiance
and total sound=-is something that two ears can really
appreciate. He's agver heard tl. ind | guess he never will,

auoreg: Ah, he hears. [4udree .ughs in amazement. JHe
doesn't maybe hear fike we do, but he does.

So when did your sons start to record?

AUDREE: My husband was in the machinery business, big
lathes from Engiand, and the peopie from whom he
imported them were here to visit us. And we took them
to Mezco City. When we left, the refrigerator was com
pletely stockedand we gave the boys enough money to
buy whatever ele they needed. We came back and here
they had gone out and rented a bass, a big standup, 8s
tall as Al for sure. and drums and a microphone. They
had used every bit of their food money. And they said,
“We want to play something for you.” They were very
excited about it, and I thought the song was darling—
never dreamung anything would happen.

And that song was “Surfin’.”

aupree: Right.

Well, then they signed with Cap..vl and they started making
alot of hits. How did that change your life at home?

alongs: Weil. it was really very hectic. Telephones never
ever stopped ringing. And I was doing ail of the book
work. [ wes making ali the forms for the musicuns*
uruon and I was going to the bank and being so careful
that all five of them got exactly the same amount to the
penny. And I remember cooking dinner and we'd have
to leave. | remember dinners not even being eaten because
we had to fly out to wherever they had to appear.

How did they handle this success?

auorzg: Well, being a mother, I thought they handled
it $0 beautifully for being that young. But thei father
had a strong hand as far as. . . well, they didn’t always
usten to him. Later he'd say, “Why didn’t you listen to
me" And they'd say, “Well, I guess we were punks.”

There was a night curing ov after the Ausiralia tour when
they decided they didn't want their father to manage them.

aUDRSE: It destroyed him.
Did you understand why they...

aupags: Oh, I understood perfectly. That was s hornbie
ume for me. He was just destroyed by that and yet he
wasn't really up to it. He'd alresdy hed an ulcer and it
was really too much for him; but he loved them so much,
he was so overly protective, reaily. He couldn't let them
90. He couldn't stand seeing anyone eise handling his kids.

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= were ternble deys, frankly. and he wes angry
wh aoe. You siways uke it out on the closest one. He
was angry at the whole worid.
Whar did he say at the ume?

_AUDREZ: Not too much. He stayed in bed 8 lot.

YOU NEED A MESS OF HERP
*" TOSTANDALONE .

EANWHILE, BACK AT THE

father. Not surprisingly ars gortm him ina let of
trouble over the years, with his dad, his schoolteachers
and later with his cogerious roommate Charies Manson,

says be is God and the Devil. He sings, playe and writes
poetry and may be another artist for Brother Records.)

As Dennis sat down, Sandy Friedman handed him =
local trade-papet with the Beach Boys on the cover. Hé
gianced at a for.¢ moment, then. shrugged and said, -

be stood up and walled to the sentir of the ream for lt
unporant ennouncemsnt «24:

DEons: I've just made « mooumenta decision

record company. ft's like, I've &
would fail. [Here Dennis ssicks his arms ight out in

“Come on, you. can't read everything you believe." Then + :

whole life. I always thought if I-wam’ a Beach Boy Ly.

I used to lie to Aun when I was young. [ learned 6: 20
carly age to be very protective of myself, | piayea « great
rund game.
But one thing about my father — beautiful munc would
abways cok my father's heart. You siweys wanted to
sing for him. Dad was 2 frustrated songwriter, and |
thnk Bran eros is ac through Da 7)

{ guages we go to his VW camper in the drivewsy,

Malem to 4 cametse of ceo cuts from his planned
solo Gibum. Thay have bind of « Beach Boy: sund to
tham, but rougher, more rock & roll, Ske Dennis’ vice
and tonperanent. Actuaily, they"tound great. Finally |
get ap enough nerve 10 agk him @ question that has intum-
dated me for ome ame4

I know shis ts ext anpleasent subject, kuet is 1 been a number
of yr m*. OOA Guwia Mae
your experience with Charles Manson. . .

[Bur even befare I finish, Dennis 1s shag, My Arad
pases: Ne. Never. As long as [ live, IU never uk about
that. (Me ganas out the windshield of hiz camper.} 1 don't

‘on thet-witness send.

[ust shen actress Karen Lamm Wilson, Dennis‘ acw wife.
chives up ing wall sports cor. “Gotta go, get,

i

a - Damn, bone frome He compar and sate of

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mock agony.| So | called up my attorney and said, “Hey,
get me a record company.” But my biggest piece of shit
is, I'm gonna do a movie where I'm gonna be a flaming
gay boy who wants to be a policeman.

So many positive things are happening in the Beach
Boys’ career mght now. Let me teil you something about
the Beach Boys... we had a very normal childhood. Our
father beat the shit out of us; his punishments were out-
rageous. I never saw.eye to eye with him, ever. Io fact

Carl and Ann Wilson

1 just know it started in A bs
or ‘64. Brian, and Michael especially, wanted to aot
have my father invoived because be screwed them up
with chicks, you know? We'd want to find a giri to be
with, the thing on the road, and he was really kind of

home. [ said, “They really, you know. dont want you
* When I think about it

he gave up his home and business for us, he was kind of
crackers over us, you know?

Would your dad be more likely to confide in you?

cart: Yeah, we had a great reisuonship. He was crazy
about Bran, but he end Bnan drove each other outs.
You know, here Bnan is really growing massively mu-
sically, mght? And tus oid man's telling him how the
records should sound. My dad would say du it faster,
and Brian would say no, it’s gotts be more laid back,
have more feel to it. But he was a great man, very sen-
siuve. I really loved my dad a lot.

ft about killed Bnan when my dad died. He went to
New York; my dad passed away, Bnan split. He couid
not handie i.

He didn't go to the funeral?

caat: No. That's how come he left, so he wouldn't have
to be here and go. I think Brian hung onto that one for
Quite some time. I think he’s okay with it now, maybe.

The area of questioning | find most difficult, if's 30 per-
sonal, is what we might cali“ Brian's problem.”

cart: Brian's bebavior?

Yeah, weil, you once said he went through hell.

OL4s3

know nything. you know? If I did, | would've been up /

1

‘« Case 1:94-cv-00892-JEC-LFG — DOGalmORbAGesalz ied 10/18/95

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So what are you dong with your tune?
aupase: Not as much ss [ shouid.
You mean not as much as you'd hke?

avoeus: Weill, as I'd like and should for my own good,
because I'm lonely 8 lot and that's ndculous.

Do you still play music?

comfortable. I just don't have anything .n parocuiar

going for me.
af ot se

MURRY WILSON OBITUARY .-
Distributed by Werner Bros. Records in June [973—-""'

T held it on the beck of his neck. And he still just sat
there. I said, “Are you okay?” And he said, “I don't
know.”

I got up next to him to hold him—he was much bigger
than I am—and he just toppled over. So [ turned him
over! don’t know how I did it, but I did it. And I
realized be was really in bad trouble. In fact, I thought
he was gone. By that time his face looked very flushed
and his eyes . . . I knew he didn't see me because 1 went
like this [pars her cheek] and said, “Baby, baby.” Al I
said to him was, “Baby, baby, I love you.” I ran into
the bedroom and called the fire department. | sever went
back in that bathroom, .

I locked the house, got in my car and went to the
hospital... and sat there for quite a while. A doctor came
out once and said, “We're doing everything we can.”
And I said, “I'm sure you are.” And I knew that that
was it. -
Brian did net go to the funeral.

auprsz: Nope. I understand that perfectly. You know,
Cari was very angry that Brian didn't go to the funeral.
And I said, “Carl, | understand perfectly.” It dida't
bother me. Brian couldn't face it. No way.

De you think he'll go to yours?

aupagg: I'd be surprised. You know, I don't know if
he's ever been to one. To me, so what? I don't believe
in funerals, frankly —- the most barbaric, outmoded bunch
of... (censors herself and laughs). Anyway... .

in general you seem td have been much looser than your
husband.

avons: Oh yeah, a great deal more. He took life s0
senously, really. It was hard for him to have fun. Once
he said 10 me, “Someumes you cas be 30 mad or ia some
kand of mood, and somebody comms over sad you can
laugh and have a good urne. Maybe I"m jealous of you.”
I used to think :t would be so nace if he could just loosen
up. But he was what he was, you ksow?

About ten years ago everyone started getting into drugs
and marijuana, and I'm sure your boys did too. How did
that affect you?

auones: Weil, had s horrible problem with my husbead

about that. He was 90, so0o against it, so mortified —1 | -

can’t even think of a strong enough word. They all went
and told him thst they were smoking pot and, oh, be
just thought that was the end of the world, the most
horrible thing they could do. And of course he was angry
with me. In fact, he was so angry he wouldn't allow them

(© come to our house for quite s while. And he wid me
Tcoukdn’t go see them.

But now, of course, dope is much better understood. Have
you ever tried it?

aupazt: Frankly, I did try it. In fact, I just zonked out.
1 was at Cari and Annie’s house aod. walked isto the
living room and I cocidn't get up. I didn't tike it at all.
Then one other time, though, ! tried it and I've never hed
more fun in my life. Laughed and tsughed and laughed,
just had a bail. This is since Murty’s goee.

How old ave you?

aupagz: Thirty-seven. You know I'm tying. Should I teil
the truth?

Let's see... you anid you got married when you were 20. . .
and you had Brian after four years, and he jus turned 34
... 80 you're about 58.

aupauz: Exactly. Rats.

Mike Love and fiancé, Sue Oliver

masking 0 pouhover soften ebich revesiod neell st the cod of
a benutifal chord of the thought of bis wife nnd Ghree ame. As
weending esuree of high-powered energy, be could wear dows he
strengent woeia jut by explaining his ma ene call.
A jealous guardian of the incredible carver be heiped build fer bin
aemn, ba wes the cuthumastic chempine of any whe sanght t talp
them, end the coourge of these whe wed the Wime enme far
1 guia.

“He was a prea man, whe wanted mere thea anything fer tis
eens to he ‘gned beys.’ in bin eyes they remained ‘boys’ anti the
end, Gough Brinn 9 aww 30, Damnis 28, and Cari 26. They wore
est the ‘tough’ men he used to any be wanted them to be but, over
tis last years, Murry Wises whinied dewn the guerstion op
through increnand confidence in all threo. denpite choir ‘enft’ ways.

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—no booze, no drugs, no tobacco, no meat.
Naturally I could only take it for about 24 hours, but I

VoL 1, March 21, 1995

Audree G46 0..94-cv-00892-JEC-LFG Document 76 Filed LOR Mrisontefa Aha Bowitson v.

Harpercollins Publishers, Inc.

Page 21 Page 23
1 Wilson (1 Wilson
f2) question of public figure status, and unless there 1 MS. DUMAS: What's the question
(3) is a further explanation from Ms. Daniels as to 3) again?
4) the relevancy, I instruct the witness not to (4) BY MS. DANIELS:
[5] answer. } Q: Do you remember giving that quote to
6} BY MS. DANIELS: is] Mr. Leaf?
™ Q: Would the statement have been ™ A: It sure sounds like I said it.
{8} accurate back in "77 when this book was published? 3} Q: And so you believe it's an
] MS. DUMAS: Objection. Unless (]} accurate -
(to! Ms. Daniels provides a further explanation of tio) ~=©MS. DUMAS: Objection on the
(11) relevancy, I instruct the witness not to answer on (11) grounds of relevancy. Untess an explanation is
(121 the grounds that this line of questioning has no 12) provided as to how this line of questioning
(13) relevancy to the question of public figure status. _ {13} relates to public figure status, I instruct the
(14) BY MS. DANIELS: {14} Witness not to answer.
05} Q: Did you ever contact anybody about 15) MS. DANIELS: Let me finish my
(16 the accuracy of that passage? i16} question and then you can reassert the objection
“7 =A: No. 17) if you still want to.
(18) - Q: In the next column, at the end of 113) Q: Do you feel that that’s an accurate
(19) the first paragraph, which is a carry-over (13) description of what you told to Mr. Leaf?
(20) paragraph from the left-hand column - 299 #MS.DUMAS: Objection for the
(21) MS. DUMAS: You're saying that for [21] reasons stated before.The witness is instructed
[22] my benefit - [22] Not to answer unless a further explanation is
233 MS. DANIELS: For your benefit. (231 provided by counsel as to relevancy.
(24) MS. DUMAS: - because Ms. Wilson is (24) MS. DANIELS: I'm just trying to
(25) relying on your oral recitation of the text. (25) understand whether what she believes was in the
Page 22 Page 24

(1 Wilson
fa MS. DANIELS: Yes.
pt Q: Here, you're quoted as saying, and
4} Pll quote:
(5} “Dennis had it the hardest; he
is} got some very hard spankings.
7 (Murry) was tough; I used to think
{8} he was too tough.”
(9) And that’s the end of the quote. He
[10] says:
(11) “Audree also feels that Dennis is
(12) the most like Murry."
(133 And then he quotes you again:
(14) ‘The temper, sort of bombastic at
115} times. It’s just like Murry
(16) revisited. They were certainly
(17) the most alike.”
(18) Do you remember giving that quote to
19) Mr. Leaf?
(2) MS. DUMAS: She’s asking you a very
[21] particular question.
23 THE WITNESS: What?
iz MS. DUMAS: She’s asking you a very
(24) particular question.
(26) THE WITNESS: Yes.

1") Wilson
(2) public domain at the time of publication was
] accurate or inaccurate.
4) MS.DUMAS: I don’t think that has
(5) any relevancy to the question of establishing a
{6} public figure status.
m MS. DANIELS: Well, let’s move on.
1s) You've instructed her not to answer.
~]} Q: On Page 49 of this book, which is
(10) pretty far into this exhibit, Page 49, beginning
(11) in the middle, right under the - I guess it’s a
(12) reproduction of a poster -
133 THE WITNESS: Thank you.
(4) MS.DUMAS: You're welcome, Audree.
15) BY MS. DANIELS:
(16) Q: Mr. Leaf recounts a scene, which is
17 told by you, about when Brian was writing the song
(18) "Surfin’ U.S.A."
us} «=A: Writing what?
reo}  Q: The song "Surfin’ U.S.A.”
23 MS.DUMAS: The sentence is
j24) apparently quoted by Ms. Wilson.
23 MS. DANIELS: Yes, she’s quoted
(24) here.
2) MS.DUMAS: Purportedly quoted.

Page 21 - Page 24 (8)

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Carl Wilson and Audree Wilson v.
Harpercollins Publishers, Inc.

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Audree Wilson

VoL 1, March 21, 1995

Page 25 Page 27
1) Wilson 1] Wilson
7 MS. DANIELS: There's quotations in (a family"?
3} the text and first he begins: ] MS. DANIELS: Yes.
4)  “Audree recalls, ‘I was down in 4] "The Wilson family business was
fs) the music room with him and Murry {5} not a smoothly operating machine
6) was up in the bedroom (1 by 1966."
7 watching” - Mm In the middle of this paragraph
2) Oh. Here. Let me start again. ts] Mr. Leaf recounts the story about Carl and Brian
19} “I was down in the music room 9] and marijuana, and il just read it to you.
(19) with him’ - I think meaning to} «©96 MS. DUMAS: Objection. The
(11) Brian - "‘and Murry was up in the (11) paragraph speaks for itself.
(12) bedroom watching TV. Murry came (13 BY MS. DANIELS:
(13) rushing down, and he criticized 13) Q: I'm reading here, beginning with the
(14) his” - meaning Brian’s - (14) third sentence in the paragraph.
(15) chythm. Brian was furious, just 15} "The Wilson brothers’ use of drugs
16] furious. He said, ‘Fuck you!’ It 16] served to further divide the
(17) was just horrible. And I said, (17) family. Audree Wilson painfully
(19) ‘Brian!’ And Carl was sitting (18) recalied that time: ‘I remember
{199 down there, too, and he said, {19} Carl coming to me and telling me
(20) ‘Brian!’ Murry never got over rzo} that he had smoked marijuana.
21} that. He used to bring that up to (21) Brian and Carl both told me at the
fez] me.I was supposed to go over (22) time."
j23} there and hit Brian with a board, (2a) +~MS.DUMAS: "At the same time.”
i24) or clobber him or some horrible 4) MS. OANIELS: "At the same time.
(25) thing because he said that.1I (25) We were walking through an
Page 26 Page 28
1 Wilson (1) Wilson
i) didn’t approve of the profanity (4) airport, and I just choked,
(3] but I didn’t think it called for 3] because at that time it was such a
(4) that.” 4} new thing to me.I knew nothing
5) Do you remember giving that is] about it except "Stay away!
[8] statement to Mr. Leaf? (6) Dangerous! Bad!" And of course,
m A:Ido- qm their father, oh, he just went
33 MS. DUMAS: First of all I think {8} wild, because they all told him.
—} you misquoted it. The end of the quoted section 9) They were very honest, and I used
(19) has a open bracket around the words "the {19} to wish they had never told. We
(11) profanity,” close bracket. 11) talked about that later and Cari
127 MS. DANIELS: Right. (12) said, "No, we had to do that, we
v3) MS. DUMAS: Okay. With that (13) had to be honest about it." They
(14) qualification, what’s your question? (14) were very upfront.”
15} BY MS. DANIELS: 1s} Q: Do you remember giving that
(16 Q@: Do you remember giving that (16) quotation to Mr. Leaf?
{17] Statement to Mr. Leaf? 177) A: I don't really remember but it’s -
pe) A: Ido. tg} I don’t really remember.
19] Q: Did you ever contact Mr. Leaf about (‘93 Q: Did you ever contact Mr. Leaf with
f2o} this statement or the accuracy of this statement? (20) respect to this passage after you saw it in print?
1) A: I don't remember. (21) A: No.
223 MS. DANIELS: Now, on Page 159, a7 MS. DUMAS: Your question implied
(2a) Mr. Leaf, and, Beth, this is in the first column, (23) that she saw it in print.
(24) and it is the third full paragraph. (24) BY MS. DANIELS:
2) MS. DUMAS: That begins "The Wilson (2) Q: Do you recall seeing it in print at
Noon & Pratt Min-U-Script® (9) Page 25 - Page 28"

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